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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE


ALAN KNOWLTON,                        )
                                      )
            Plaintiff,                )
                                      )
      v.                              )      1:09-cv-00334-JAW
                                      )
JUDITH SHAW, et al.,                  )
                                      )
            Defendant.                )


             ORDER ON MOTION FOR SUMMARY JUDGMENT

      In an action by a former employee against his former employer and its

representatives asserting causes of action under 42 U.S.C. § 1983, slander,

intentional and fraudulent misrepresentation, breach of contract, breach of good

faith and fair dealing, and promissory estoppel, and requesting punitive damages,

the Defendants move for summary judgment. The Court concludes: 1) the § 1983

claims must be dismissed because, under Illinois law, the Plaintiff was an at-will

employee and lacked a property interest in continued employment; 2) the slander

claims must be dismissed because they are based on speculation and character

evidence and because they fail to link the Defendants to the allegedly slanderous

material; 3) the breach of contract, breach of good faith and fair dealing, and

promissory estoppel claims must be dismissed because the employment contract

made clear that the Plaintiff was an at-will employee and the employer‘s policies

did not alter the contract; 4) the negligent and fraudulent misrepresentation claims
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survive to the extent they seek to recover for economic loss; and, 5) the punitive

damages count survives.

I.     STATEMENT OF FACTS

       A.     General Overview

       On July 2, 2009, Alan D. Knowlton filed suit in Superior Court, Penobscot

County, state of Maine, against a number of state of Maine Defendants.1 Notice of

Removal (Docket # 1) Attach. 1 at 1. The case was removed to this Court on July

28, 2009. Notice of Removal. Mr. Knowlton later amended his complaint to include

two additional state of Maine Defendants; Bankers Life and Casualty Co. (Bankers

Life); James Valdez, Vice President and Associate General Counsel of Bankers Life;

Michael Buckley, Vice President of Bankers Life; and Bruce Jordan, Regional

Director of Bankers Life.2 First. Am. Compl. at 1–2 (Docket # 11) (Am. Compl.).

The Amended Complaint claims multiple violations of 42 U.S.C. § 1983 including

Deprivation of a Property Interest without Due Process of Law (Counts I through V)

and Unconstitutional Impairment of Contractual Obligations (Counts VI through

X); Conspiracy to Violate Civil Rights under 42 U.S.C. § 1985(2) (Count XI);

Negligent Misrepresentation (Counts XII, XIII, XVI and XIX); Fraudulent and

Intentional Misrepresentation (Counts XIV, XVII and XX); Slander (Counts XV and


1 The original state of Maine Defendants included Judith Shaw, Deputy Superintendent for the
Bureau of Insurance, Andrew Black, Assistant Attorney General, and Glenn Griswold, Director of
Consumer Health Care Division of the Bureau of Insurance. Notice of Removal (Docket # 1) Attach.
1 at 1. On January 5, 2010, these Defendants moved to dismiss. Mot. to Dismiss of Defs. Judith
Shaw, Andrew Black and Glenn Griswold (Docket # 29). On April 27, 2010, the Court granted this
motion. Order on Mot. to Dismiss (Docket # 46).
2 The additional state of Maine Defendants included Mila Kofman, Superintendent of Insurance and

Janet Mills, Attorney General. Compl. On February 17, 2010, Mr. Knowlton moved to dismiss his
complaint against Superintendent Kofman and Attorney General Mills, and on February 19, 2010,
the Court granted Mr. Knowlton‘s motion. Mot. to Dismiss (Docket # 43); Order (Docket # 45),


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XVIII); Breach of Contract (Count XXI); Breach of Implied Covenant of Good Faith

and Fair Dealing (Count XXII); and Promissory Estoppel/Detrimental Reliance

(Count XXIII). Am. Compl.

            1.     Mr. Knowlton’s Complaint

      Bankers Life hired Alan D. Knowlton in New Hampshire as a sales agent in

November 1980 and in May 1985, it transferred him to Bangor, Maine as the

branch sales manager.    Mr. Knowlton says he was successful in Bangor.          The

number of sales agents grew and the office became among the top fifty Bankers Life

offices in the Country. Mr. Knowlton‘s immediate supervisor at Bankers Life was

Leroy Kunselman, a Vice President.     Mr. Kunselman told Mr. Knowlton it was

Bankers Life‘s policy and practice to continue all branch sales managers in their

positions unless they failed to perform or engaged in prohibited activity, an

assertion Mr. Knowlton took as a promise. Accordingly, Mr. Knowlton worked hard

with the expectation he would retire from Bankers Life upon his 56th birthday.

      All went well until 2000, when the state of Maine began a ―Market Conduct‖

investigation into Bankers Life‘s sales practices in Maine, focusing particularly on

the South Portland branch office.     When Deputy Superintendent of Insurance

Judith Shaw expanded the investigation to the Bankers Life Bangor branch office,

the only sales practice mistake she found was the office had mistakenly distributed

literature describing Bankers Life as having an A.M. Best ―A‖ rating when in fact it

had a ―B+‖ rating. Bankers Life hired an attorney to represent Mr. Knowlton on

the complaint that he had distributed inaccurate literature, and on March 28, 2005,

Mr. Knowlton and the state of Maine entered into a Consent Agreement in which


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Mr. Knowlton agreed to pay a fine of $750 in return for the state‘s agreement to

take no further action against him. Mr. Knowlton thought his problems with the

state of Maine were over.

       He was wrong.        At the same time the state was negotiating with Mr.

Knowlton regarding violations in the Bangor branch office, it was also negotiating

with Bankers Life to resolve the systemic violations that had taken place in the

South Portland branch office. The state was concerned that the South Portland

office had inappropriately focused its sales on elderly Mainers. The state proposed

to Bankers Life that it conduct an audit of both its South Portland and Bangor

offices.   Concerned that the audit would reveal the serious depth of the South

Portland transgressions, Bankers Life proposed an alternative to the state: it would

fire the South Portland and Bangor branch managers. Despite the state‘s March

28, 2005 Consent Agreement with Mr. Knowlton, the state and Bankers Life

entered into a Consent Agreement on April 11, 2005 in which Bankers Life agreed

to remove Mr. Knowlton from his position as the branch sales manager in the

Bangor office.

       Bankers Life lived up to its Consent Agreement with the state of Maine. On

April 14, 2005, three of Mr. Knowlton‘s Bankers Life superiors, James Valdez,

Michael Buckley, and Bruce Jordan, told him the state of Maine had concluded that

South Portland and Bangor offices could not handle the offices‘ improper sales

practices problems and, despite the fact Bankers Life did not want to remove him,

the state had insisted on his removal as the branch sales manager for the Bangor




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office. All three men assured Mr. Knowlton that Bankers Life had fought with the

Maine Bureau of Insurance to preserve his job but that the state had insisted upon

his removal. This, according to Mr. Knowlton, was a lie. They all knew full well

that it had been Bankers Life, not the state of Maine, which had proposed Mr.

Knowlton‘s termination.

      From then on, the Bankers Life supervisors continued to deceive Mr.

Knowlton. Reassuring him they knew he was not at fault, they told him he could

work for Bankers Life in a new position in the commonwealth of Massachusetts as

branch manager for the North Shore sales office; however, they said he would have

to start out as a unit sales manager: in effect, a salesman. They promised the

salesman position would be temporary, and as soon as the North Shore branch was

up and running, Mr. Knowlton would become its branch sales manager.

      Personal lines insurance sales begin with personal relationships.        By

transferring Mr. Knowlton from Bangor, where he had spent the last two decades,

to north of Boston, where he knew no one, Bankers Life set up Mr. Knowlton for

failure. This is exactly what happened. Mr. Knowlton could not succeed as an

insurance salesman in Massachusetts and repeatedly requested that he be allowed

to assume the promised position of North Shore branch manager. The supervisors

at Bankers Life, however, lied to him again and told him that the Consent

Agreement with the state of Maine prohibited him from becoming a branch

manager anywhere.




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      Bankers Life then engaged in a series of actions to force him to resign. It

promised him a salary and then unilaterally cut him off, reinstated it upon his

complaint, but then cut it off again. Ultimately Bankers Life was successful in its

campaign to force Mr. Knowlton out of the company. After he left, Bankers Life lied

about Mr. Knowlton, disparaging his honesty and competence and falsely asserting

that he had been forced out of the Bangor branch manager position by the state of

Maine.

            2.     The Bankers Life View

      Bankers Life tells a different story. Contrary to Mr. Knowlton‘s claim of

superior performance as the Bangor branch office manager, Bankers Life says that

from January 1, 2002 to April 11, 2005, the state of Maine Bureau of Insurance

received 70 formal complaints alleging violations of the Maine Insurance Code by

agents appointed by Bankers Life, including agents recruited, trained and

supervised by Mr. Knowlton in the Bangor branch office. Bankers Life points to the

Bureau of Insurance‘s conclusion that ―neither the South Portland nor Bangor

branch can be operated in full compliance with Maine law and this Consent

Agreement as those branches are currently operated‖ and that it was incumbent

upon Bankers Life to ―take serious measures to create a new culture dedicated to

the development and maintenance of a strong compliance philosophy.‖ The Bankers

Life Defs.’ Statement of Material Facts in Support of Their Mot. for Summ. J. ¶ 17

(Docket # 60) (DSMF).

      Bankers Life also disputes Mr. Knowlton‘s contention that it proposed his

removal to avoid an audit. Instead, Bankers Life says the state of Maine insisted


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upon his removal and rejected Bankers Life‘s suggestion that he be retained and

retrained. In effect, Bankers Life says it capitulated to the state‘s demand that it

relieve Mr. Knowlton of the managerial duties in Bangor.

      Despite its reluctant acquiescence to the state‘s non-negotiable demands,

Bankers Life insists that it sought to treat Mr. Knowlton fairly. It placed him on a

paid leave of absence and made him a variety of job offers. After he accepted the

North Shore position, it took the unusual step of paying him $9,000 a month in

temporary financial support through July 2006. Over time, however, it became

clear to Bankers Life that Mr. Knowlton was a failure as a sales agent in

Massachusetts; he hired very few new agents and sold almost no policies.

Observing that Mr. Knowlton refused to move from Maine to Massachusetts,

Bankers Life suspected his heart was not in his job.       Finally, in August 2006,

Bankers Life told Mr. Knowlton he could continue to work there only if he agreed to

relocate to Massachusetts and conform to certain performance standards. When

Mr. Knowlton refused, Bankers Life terminated him effective March 16, 2007.

            3.     The Order on the Bankers Life Motion to Dismiss

      On December 14, 2009, the Bankers Life Defendants moved to dismiss. Defs.

Bankers Life and Casualty Co., Michael Buckley, Bruce Jordan, and James Valdez’s

Mot. to Dismiss Under Rule 12(b)(6) (Docket # 23) (Bankers Life Defs.’ Mot. to

Dismiss). On April 27, 2010, the Court granted this motion in part, denied it in

part, and dismissed certain counts. Order on Mots. to Dismiss (Docket # 46). In

ruling on the motion to dismiss, the Court deferred action on claims that relied

upon the terms of the employment agreement between Mr. Knowlton and Bankers


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Life because the employment contract was not properly before the Court.3 Id. at 6–

9.

       B.      The Motion for Summary Judgment

       On October 29, 2010, the Bankers Life Defendants moved for summary

judgment on the remaining claims. The Bankers’ Life Defs.’ Mot. for Summ. J.

(Docket # 59) (Defs.’ Mot.). Mr. Knowlton responded on November 18, 2010. Pl.’s

Resp. to Bankers’ Life Defs.’ Mot. for Summ. J. (Docket # 61) (Pl.’s Resp.).                 On

December 9, 2010, the Bankers Life Defendants replied. The Bankers Life Defs.’

Reply (Docket # 66) (Defs.’ Reply).

       C.      The Legal Positions

               1.     Bankers Life

       Bankers Life bases its motion for summary judgment on a number of

theories. First, taking the next step from the Order on the Defendants‘ motions to

dismiss, Bankers Life asserts that Mr. Knowlton has no evidence that either Mr.

Valdez or Mr. Buckley slandered him within the applicable statute of limitations

period: after July 2, 2007. Second, Bankers Life says that Mr. Knowlton‘s contract

claims cannot proceed because the written contract provides unequivocally that

Bankers Life could terminate his employment at will and without cause. Further, it

says that the contractual provision addressing policies and procedures is one-sided,

obligating Mr. Knowlton to comply with Bankers Life policies and procedures, not

obligating Bankers Life to comply with its own policies and procedures, and in any


3 The Court dismissed the two slander claims (Counts XV and XVII) to the extent they arose from a

statement by Mr. Valdez on June 27, 2006, Order on Mots. to Dismiss at 11–12.


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event, the contract itself takes precedence over any other Bankers Life documents

or the oral representations of a Bankers Life supervisor. Bankers Life cites Maine

case law as supporting its contention that an employment contract without term is

terminable at will.    Bankers Life then disputes the sufficiency of each of the

remaining theories upon which Mr. Knowlton is attempting to proceed.

             2.      Alan Knowlton’s Response

      Mr. Knowlton first posits a choice of law issue: he says that the contract must

be interpreted under Illinois state law and that the tort claims fall under Maine

state law. He then claims that Bankers Life‘s motion must fail because it has not

yet presented a complete employment contract for the Court‘s review.          Next he

contends that Illinois law creates a rebuttable presumption that an employment

contract is at will and he argues that in this case, the facts generate a factual

question as to whether he has successfully rebutted the Illinois presumption. In

addition, he says that Illinois law recognizes the contractual obligation of good faith

and fair dealing in employment contracts. Mr. Knowlton says he avoids the statute

of limitations on the slander claim because the Consent Agreement is still being

published and Bankers Life employees are still reiterating allegations of his

supposed incompetency.

      D.     The Dispute

             1.      A Fractured Set of Facts

      As a result of multiple requests to strike, objections, and qualified responses,

the parties have presented a fractured evidentiary basis for the Court‘s

consideration.    Out of Bankers Life‘s fifty eight supposedly undisputed material


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 facts, Mr. Knowlton admitted only six without qualification, objection, or requests to

 strike. Resp. to Defs.’ Statement of Material Facts (Docket # 62) (PRDSMF). The

 admitted facts include only the most incontestable assertions, such as that Mr.

 Knowlton is a former employee of Bankers Life and that in his amended complaint,

 he asserted claims for slander per se against defendants Buckley and Valdez.

 DSMF ¶¶ 1, 48; PRDSMF ¶¶ 1, 48. Otherwise, everything is qualified, objected to,

 or denied.   Not to be outdone, out of Mr. Knowlton‘s seventy-two additional

 supposedly undisputed material facts, Bankers Life admitted ten; again only the

 most unarguable, such as that Bankers Life hired Mr. Knowlton in November 1980,

 and vigorously contested all the rest. Pl.’s Statement of Additional Material Facts ¶

 59 (Docket # 62) (PSAMF); Resp. to Pl.’s Statement of Additional Material Facts ¶

 59 (Docket # 67) (DRPSAMF). Based on the narrow set of the admitted facts, the

 motion for summary judgment cannot proceed to the merits and on that basis, the

 Court would summarily deny Bankers Life‘s dispositive motion.

              2.    Requests to Strike and Objections

       Obscured by the quibbling is the substantive significance of the legal issues.

 To reach the merits, the Court is required to cut through the thicket of the parties‘

 motions to strike and objections to determine whether, after resolving them, what

 remains truly generates a triable issue.

              3.    The Defendant’s Statement of Material Facts and the
                    Plaintiff’s Qualified Responses, Objections and Requests
                    to Strike

                    a.     DSMF Paragraphs 2 Through 4: Objections




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       Mr. Knowlton‘s first set of objections—based on relevance—is to Bankers Life

 statement of material facts paragraphs 2 through 4.      PRDSMF ¶¶ 2–4.       These

 paragraphs relate to the filing and ultimate disposition of Mr. Knowlton‘s original

 lawsuit against the Maine Attorney General and the Maine Superintendent of

 Insurance. The Court sustains the relevancy objection since the earlier lawsuit has

 no bearing on the appropriate disposition of Bankers Life‘s dispositive motion on

 this lawsuit.

                    b.    DSMF Paragraphs 5 and 6: Qualified Responses

       Bankers Life‘s statement of material facts paragraph 5 states:

       On July 2, 2009, Knowlton filed a second lawsuit against state actors
       Judith Shaw, Andrew Black and Glenn Griswold, in their individual
       capacities.

 DSMF ¶ 5. Mr. Knowlton interposed a qualified objection, noting in essence that

 his second lawsuit was based on ―Justice Silver‘s comments during oral arguments

 in the contract action against the State.‖    PRDSMF ¶ 5.       This is a frivolous

 qualification to Bankers Life‘s statement of material facts since the paragraph only

 asked Mr. Knowlton to admit he filed the lawsuit, not why he filed it. The Court

 refuses to accept the qualified response to Bankers Life‘s statement of material

 facts paragraph 5 and deems the fact admitted.

       Bankers Life‘s statement of material facts paragraph 6 states:

       He later amended the complaint to join Bankers Life and its
       employees, Michael Buckley, Bruce Jordan, and James Valdez.

 DSMF ¶ 6. Mr. Knowlton interposed a qualified response, noting that after he

 ―learned that Bankers had made representations to him [that] were untrue, he



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 brought an action against them . . . [and that the] action is premised on the facts of

 the case, the terms of the contract, the policies, procedures, and practices of

 Bankers Life and his understanding of his rights under Maine and Illinois law.‖

 PRDSMF ¶ 6.

       The Court refuses to accept Mr. Knowlton‘s qualified response to Bankers

 Life‘s paragraph 6. This paragraph only asserted that Mr. Knowlton amended his

 complaint to include Bankers Life and three employees. Again, it did not ask why

 he did so. Mr. Knowlton should have admitted the assertion without qualification

 since it is undeniable he amended his complaint to add Bankers Life. The Court

 deems Bankers Life statement of material facts paragraph 6 admitted.

                    c.     DSMF Paragraph 9: Request to Strike

       Bankers Life statement of material facts paragraph 9 states:

       This contract contains provisions that are substantially the same as
       those in the 1995 Contract.

 DSMF ¶ 9. Mr. Knowlton asks the Court to strike this paragraph because it is

 ―vague and ambiguous.‖ PRDSMF ¶ 9. First, he says he does not know which

 contract the paragraph is referring to. Id. For purposes of this Order, the Court

 notes that paragraph 9 follows paragraphs 7 and 8, which refer to the two contracts

 Mr. Knowlton himself signed in January 1995 and January 2006, and therefore

 paragraph 9 must refer to the similarity of the January 2006 contract and the

 January 1995 contract. Second, Mr. Knowlton says that the contracts speak for

 themselves and Bankers Life should identify the specific provisions its contents are

 similar. Id. The Court denies Mr. Knowlton‘s request to strike.      The assertion is



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 either correct or not and should have been answered. Failing a response, the Court

 treats Bankers Life‘s statement of material facts paragraph 9 as admitted.

                    d.    DSMF Paragraph 10: Request to Strike

       Bankers Life‘s statement of material facts paragraph 10 reads:

       Because Mr. Knowlton has alleged that Bankers Life terminated him
       in 2005, the Contract governs this lawsuit, though both contracts
       produce the same result.

 DSMF ¶ 10 (internal citation omitted). Mr. Knowlton admits the first part of this

 assertion, namely that the 1995 contract is the relevant agreement, but asks the

 Court to strike the last phrase as argumentative and a conclusion of law, not a

 statement of fact. PRDSMF ¶ 10. As the parties agree that the 1995 contract is the

 operative document, the Court agrees that it is not relevant whether the January

 2006 contract would produce the same result and the Court strikes the last phrase

 in Bankers Life‘s statement of material facts paragraph 10.

                    e.    DSMF Paragraphs 11, 13, 14 : Qualified Responses

       Bankers Life‘s statement of material facts paragraph 11 states:

       Mr. Knowlton‘s Contract provided that ―[e]ither party may terminate
       this contract at will, without cause, by giving written notice to the
       other party.

 DSMF ¶ 11. Paragraph 13 states:

       The Contract further provided that it ―supersedes and terminates all
       previous Contracts, any oral representations or understandings and
       constitutes the entire Contract between the parties.‖

 DSMF ¶ 13. Paragraph 14 states:

       Moreover, the Contract further provided that it could only be ―changed
       or modified by written consent signed on behalf of the Company.‖



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 DSMF ¶ 14. In each of his responses to these material facts, Mr. Knowlton admits

 that the contract contains the indicated provision. However, for each, he interposes

 a qualified response, noting that the Contract contains other provisions as well.

 The Court strikes Mr. Knowlton‘s qualified responses. If Mr. Knowlton wishes to

 posit different contractual clauses, he should do so in his statement of material

 facts, not as a qualification to the Bankers Life‘s facts, the accuracy of which he

 admits. The Court treats Mr. Knowlton‘s response to Bankers Life‘s statement of

 material facts paragraphs 11, 13, and 14 as admitted without qualification.

                    f.     DSMF Paragraph 15: Request to Strike

       Bankers Life‘s statement of material facts paragraph 15 states:

       Mr. Knowlton has no evidence that the termination provision of the
       Contract was modified such that the Contract was no longer
       terminable at will.

 DSMF ¶ 15. Mr. Knowlton requests that the Court strike this paragraph on the

 ground that it failed to comply with the Local Rule by omitting a record citation.

 PRDSMF ¶ 15 (citing D. Me. LOC. R. 56(b), (f)).

       Mr. Knowlton‘s objection poses a puzzle: how a movant, who is attempting to

 establish the absence of a fact, cites the record to establish that certain evidence

 does not exist. The assertion of the lack of evidence is often more a legal argument

 than a statement of fact. Nevertheless, to the extent a movant wishes to establish

 an absence of evidence—for example an absence of expert testimony in a medical

 malpractice case—the movant implicitly cites the entire record.         In effect, the

 movant‘s assertion of an absence of evidence places the non-movant on notice that




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 the countervailing statement of facts should posit evidence on this issue. The Court

 denies Mr. Knowlton‘s request to strike on that basis.

       However, the Court grants the motion to strike on a different basis. It is

 clear from Mr. Knowlton‘s statement of material facts that he contends Bankers

 Life made oral promises to him, and that these formed part of the contract since

 they are, in his view, ―policies, practices, and procedures‖ of Bankers Life. Whether

 Mr. Knowlton is legally correct is one thing. However, Bankers Life‘s assertion of

 fact effectively asks Mr. Knowlton to admit what Bankers Life knows he denies, and

 thus is argumentative. To that extent, the Court grants Mr. Knowlton‘s request to

 strike Bankers Life‘s statement of material facts paragraph 15.

                    g.     DSMF Paragraphs 16, 17, 19, 20 and 21: Qualified
                           Responses

       Bankers Life‘s statement of material facts paragraph 16 reads:

       According to the consent agreement, between January 1, 2002, and
       April 11, 2005, the Bureau received 70 formal complaints alleging
       violations of the Maine Insurance Code by agents appointed by
       Bankers Life, including agents recruited, trained and supervised by
       Mr. Knowlton in the Bangor branch office.

 DSMF ¶ 16. Bankers Life statement of material facts paragraph 17 reads:

       Based on these complaints, the Bureau reached the following
       conclusion:

       It is the position of the Bureau of Insurance that the substantial
       number and nature of consumer complaints received by the Bureau
       related to Bankers Life and its Maine producers, branch and unit
       managers, represents an unacceptable level of incompetence with
       respect to the elderly population to which Bankers Life‘s products are
       sold, and a lack of adherence to legal requirements; therefore, neither
       the South Portland nor Bangor branch can be operated in full
       compliance with Maine law and this Consent Agreement as those
       branches are currently operated. As such, it is necessary for Bankers


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       Life to take serious measures to create a new culture dedicated to the
       development and maintenance of a strong compliance philosophy.

 DSMF ¶ 17. Bankers Life‘s statement of material facts paragraph 19 reads:

       Among many other provisions, the consent agreement required that
       ―Bankers Life shall relieve the managers of its South Portland and
       Bangor branch offices of their positions as branch managers.‖

 DSMF ¶ 19. Bankers Life statement of material facts paragraph 20 reads:

       The consent agreement further provided that ―Bankers Life shall
       suspend the sale of all deferred annuity products in the State of Maine
       until such time as Bankers Life replaces the current managers of the
       South Portland and Bangor branches as set forth in paragraph 53
       above.‖

 DSMF ¶ 20. Bankers Life statement of material facts paragraph 21 reads:

       Judith Shaw, the Deputy Superintendent of Insurance, testified in her
       affidavit that the removal of the branch managers ―was predicated on
       the Bureau‘s position‖ that the two branch offices were not being
       competently managed and that Bankers Life was required to take
       ―serious measures‖ to change the culture in those offices.

 DSMF ¶ 21.

       Although Mr. Knowlton admitted the content of each of these paragraphs, he

 interposed a qualified response for each, adding his own facts. PRDSMF ¶¶ 16, 17,

 19, 20, 21.    The Court treats each of these responses as admitted without

 qualification. If Mr. Knowlton wished to posit additional evidence, he was free to do

 so in his additional statement of material facts.

                     h.    DSMF Paragraph 18: Request to Strike

       Bankers Life‘s statement of material facts paragraph 18 reads:

       To address this situation, the Bureau and Bankers Life entered into
       the consent agreement on April 11, 2005.




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 DSMF ¶ 18. Although Mr. Knowlton admitted that the Bureau and Bankers Life

 entered into a consent agreement, he requested the Court strike the introductory

 phrase ―[t]o address this situation,‖ claiming it is ―vague and ambiguous.‖

 PRDSMF ¶ 18. He said he ―assumes but does not know‖ that the phrase refers to

 the substance of the prior paragraph, and he complains that Defendants ―offer no

 record citation concerning why Bankers Life ‗addressed this situation.‘‖ Id.

       The Court denies Mr. Knowlton‘s request to strike. It is abundantly clear

 that Bankers Life‘s introductory phrase incorporated the prior material fact.

 Furthermore, the phrase is neither vague nor ambiguous.         While Banker‘s Life

 could have supplied a record for its contention that it entered the consent

 agreement because of the Bureau‘s concern with its South Portland and Bangor

 branch management, it is a logical inference, which requires no such citation. In

 any event, Mr. Knowlton effectively denied it.

                    i.     DSMF Paragraph 22: Qualified Response

       Bankers Life‘s statement of material facts paragraph 22 reads:

       Mr. Knowlton was not involved in the discussions between the Bureau
       and Bankers Life, and therefore has no personal knowledge of what
       the Bureau required.

 DSMF ¶ 22. Mr. Knowlton interposed a qualified response, conceding that he was

 not present during these discussions but insisting that he had personal knowledge

 because he sat through the discovery depositions of the participants. PRDSMF ¶

 22.

       The Court rejects the qualified response and deems paragraph 22 admitted.

 Even though Mr. Knowlton sat through the depositions of the Bankers Life and


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 Bureau employees who negotiated the consent agreement, he has no personal

 knowledge of what the Bureau required while the agreement was being negotiated.

 He knows only what the Bureau and the Bankers Life employees say the Bureau

 required.

                     j.    DSMF Paragraph 23: Request to Strike

       Bankers Life‘s statement of material facts paragraph 23 reads:

       By contrast, James Valdez represented Bankers Life in the
       negotiations with the Bureau and does have personal knowledge as to
       what the Bureau required.

 DSMF ¶ 23. Mr. Knowlton admitted the substance of this paragraph but requests

 that the Court strike the first phrase, ―[b]y contrast,‖ stating that the phrase ―is

 argumentative and not properly part of a statement of fact.‖ PRDSMF ¶ 23. The

 Court agrees that the phrase ―by contrast‖ is not a fact, and reflects a viewpoint, not

 a fact. The Court strikes ―by contrast.‖

                     k.    DSMF Paragraphs 24, 25: Qualified Responses

       Bankers Life statement of material facts paragraph 24 reads:

       Valdez testified that the Bureau rejected Bankers Life‘s proposal to
       retrain and retain Mr. Knowlton as branch manager in the Bangor
       office.

 DSMF ¶ 24. Bankers Life‘s statement of material facts paragraph 25 reads:

       Mr. Valdez testified that Bankers Life initially proposed retaining Mr.
       Knowlton, but the Bureau made it clear in subsequent meetings that
       such an arrangement was unacceptable.

 DSMF ¶ 25.

       Mr. Knowlton interposed qualified responses, admitting that Mr. Valdez has

 so testified, but denying that his testimony is either accurate or credible. PRDSMF


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 ¶¶ 24, 25. He points to the testimony of other witnesses to support his dispute with

 the accuracy and credibility of Mr. Valdez‘s testimony. Id. The Court rejects the

 qualifications in Mr. Knowlton‘s responses. If Mr. Knowlton wished to posit the

 testimony of other witnesses to generate a triable fact, he was free to do so in his

 own statement of material facts. The Court deems Bankers Life‘s statement of

 material facts paragraphs 24 and 25 admitted.

                    l.    DSMF Paragraphs 26, 27, 28, 29, 30: Requests to
                          Strike

       Bankers Life‘s statement of material facts paragraph 26 reads:

       On February 24, 2005, Christopher Roach of the law firm of Pierce
       Atwood, sent a letter to Judith Shaw on behalf of Bankers Life that
       summarized the Bureau‘s concerns as expressed to Bankers Life and
       proposed corrective action for each of them.

 DSMF ¶ 26. Bankers Life‘s statement of material facts paragraph 27 reads:

       One of the Bureau‘s concerns was inadequate supervision by the two
       branch managers, one of whom was Mr. Knowlton: ―The Bureau is
       concerned that some of the problems resulting in complaints stem from
       inadequate supervision, or lack of requiring adherence to Company
       policies and procedures, by branch managers.‖

 DSMF ¶ 27. Bankers Life‘s statement of material facts paragraph 28 reads:

       But instead of immediately terminating the branch managers, which
       Bankers Life could have done, Bankers Life proposed that the branch
       managers be retained and ―placed on probation pending review of their
       performances and complicity in the conduct that forms the basis for the
       petitions now pending before the Bureau.‖

 DSMF ¶ 28. Bankers Life‘s statement of material facts paragraph 29 reads:

       During subsequent meetings, the Bureau made it clear to Bankers Life
       that it was unacceptable for the branch managers to retain their
       positions.

 DSMF ¶ 29. Bankers Life‘s statement of material facts paragraph 30 reads:


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       As a result, Mr. Roach, on behalf of Bankers Life, sent a letter to the
       Bureau on March 25, 2005 that expressed the company‘s desire to
       retain the branch managers, but that also contained the language
       necessary to satisfy the Bureau:

       Maine Branch Managers

       We have discussed your concerns about the Maine branch managers
       with senior management of the Company. The Company‘s loyalty and
       commitment to these managers, both of whom are long-term
       employees, make this a very difficult decision. Prior to these petitions
       and complaints, both were thought of as valued and capable managers.
       In light of the Bureau‘s significant concerns, and in the interests of
       being able to put the Company‘s best foot forward and get these
       branches turned around, the Company will relieve both as managers
       and replace them as soon as possible . . . .

       To that end, and to capture the context of the Bureau’s views on this
       issue, we suggest the following changes to paragraph 51 of the draft
       consent agreement:

       51.    The Bureau has investigated the complaints involving the
       current managers of the South Portland and Bangor branch offices
       and, as a result of those investigations, no longer has the confidence
       that either branch can be operated in full compliance with Maine law
       and this consent agreement if the current management remains in
       place. Accordingly, effective no later than the date of this agreement,
       Bankers Life shall relieve the managers of its South Portland and
       Bangor branch offices of their respective positions as expeditiously as
       possible, but with the priority of selecting individuals who are
       experienced enough to ensure that each branch operates in accordance
       with Maine law and the terms of this consent agreement.

 DSMF ¶ 30 (emphasis in DSMF).

       Mr. Knowlton interposed a series of similar objections to each of these

 proffered facts.   Bankers Life cited the Roach letters, which were attached as

 exhibits to its statement of material facts as the record citations for paragraphs 26,

 27, 28, and 30. Mr. Knowlton objected to the paragraphs since they were based on




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 the Roach letters. First, he said that the contents of the Roach letters to the Bureau

 of Insurance were hearsay, and citing two Sixth Circuit cases, he observed that

 inadmissible hearsay must not be considered in a motion for summary judgment.

 PRDSMF ¶¶ 26–28, 30.        Second, he claimed the letters had not been properly

 authenticated under Federal Rule of Evidence 901.         Id.   Third, he asserted a

 contrary fact, arguing that Bankers Life could not terminate Mr. Knowlton in any

 event because under its policies and practice, he could not be terminated unless he

 failed to meet Bankers Life numbers or unless he engaged in gross misconduct. Id.

 ¶ 28. He moved to strike the ―during subsequent meetings‖ phrase in paragraph 29

 because he did not know to what meetings the phrase referred. Id. ¶ 29.

       The Court rejects Mr. Knowlton‘s qualified responses and denies his requests

 to strike these statements. Depending on its trial context, the Roach letter is likely

 admissible, and for purposes of this summary judgment motion, the Court will

 consider it as substantive evidence. FED. R. EVID. 801(d)(1); 803(6). Regarding the

 authenticity contention, Rule 901 only requires that ―the matter in question is what

 its proponent claims.‖ FED. R. EVID. 901(a). The copies of the attached letters are

 on Pierce Atwood stationery, address issues in this case, and are signed by Attorney

 Roach. DSMF Attachs. 8, 9. The Court concludes each letter meets the Rule 901

 standard. Regarding his contention that the statement is contradicted by other

 evidence, Mr. Knowlton‘s countervailing evidence is properly placed in his

 responsive statement of additional material facts. The Court rejects Mr. Knowlton‘s

 request to strike the phrase ―during subsequent meetings‖ in paragraph 29, since




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 the period within which the meetings could have been held before his termination

 as manager of the Bangor office is confined and since Bankers Life‘s assertions can

 be admitted or denied without reference to a specific meeting. Finally as regards

 paragraph 29, the Court notes that Mr. Knowlton has denied the assertion in any

 event.

                       m.    DSMF Paragraphs 31 and 32: Requests to Strike
                             and Qualified Responses

          Bankers Life‘s statement of material facts paragraph 31 states:

          Judith Shaw, who negotiated the consent agreement on behalf of the
          Bureau, testified in her affidavit that this provision was added in
          response to the Bureau‘s concerns:

          Another provision in the consent agreement intended to ensure that
          Bankers Life would conduct itself properly in the future was that
          Bankers Life . . . had to relieve the managers of its South Portland and
          Bangor branch offices of their positions as branch managers. This
          provision was predicated on the Bureau‘s position that the
          substantial number and nature of complaints against Bankers Life
          relating to those offices represented an unacceptable level of
          incompetence with respect to the elderly population to which Bankers
          Life‘s products are sold, and a lack of adherence to legal requirements,
          and that it would be necessary for Bankers Life to take serious
          measures to create a new culture dedicated to the development and
          maintenance of a strong compliance philosophy.

 DSMF ¶ 31 (emphasis in DSMF).            Bankers Life‘s statement of material facts

 paragraph 32 states:

          When asked about this paragraph in her deposition, Ms. Shaw once
          again confirmed that the Bureau‘s concerns prompted Mr. Knowlton‘s
          removal:

          Q.    It was the Bureau‘s position that he [Knowlton] had to be
                relieved from the Bangor Branch office in his position as branch
                manager?




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       A.     The Bureau accepted Bankers Life & Casualty (sic) proposal to
              remove the South Portland and Bangor managers from their
              responsibilities as managers, yes.

       Q.     Well, this [paragraph 15 of Shaw affidavit] says the provision
              was predicated on the Bureau‘s position?

       A.     I believe Bankers Life & Casualty made that proposal based
              upon the Bureau‘s view that there was a systemic problem based
              upon the number and nature of the complaints that needed to be
              addressed.

       Q.     Mr. Black appears to state [in his deposition] that there was a
              consensus reached that the branch managers of the Bangor and
              South Portland office (sic) of Bankers Life & Casualty lacked the
              integrity and quality to perform in the positions as the branch
              manager. Do you agree that consensus was reached?

       A.     Yes.

 DSMF ¶ 32.

       Mr. Knowlton says that the term, ―this provision,‖ in paragraph 31 is vague

 and ambiguous, but in the event the Court finds paragraph 31 admissible, Mr.

 Knowlton qualifies his response, asserting there is evidence to the contrary. He

 also offers a qualified response to paragraph 32; he ―admits that the Bureau‘s

 concerns prompted the Consent Agreement but denies that the Bureau had

 concerns about Mr. Knowlton or that those concerns prompted his removal.‖

 PRDSMF ¶ 32.

       As to paragraph 31, the Court overrules the objection.       ―This provision‖

 clearly refers to paragraph fifty-one of the consent agreement.     The Court also

 refuses to accept Mr. Knowlton‘s qualified responses to paragraphs 31 and 32 since

 the qualifications are based on separate evidence that Mr. Knowlton was free to

 present to the Court. The Court deems paragraphs 31 and 32 admitted.


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                   n.     DSMF Paragraph 34: Qualified Response

       Bankers Life‘s statement of material facts paragraph 34 states:

       Andrew Black, the Assistant Attorney General for the State of Maine,
       characterized the Bureau‘s ―significant concerns‖ about the branch
       managers, including Mr. Knowlton, as follows:

       The significant concerns [of the Bureau] were that there was
       substantial evidence to indicate that the branch managers were aware
       of the illegal activities that their agents were conducting. Not only
       were they aware but they were actually instructing them of these
       activities, and, you know, essentially aiding and abetting those. An
       additional concern was that they did not have competency, the
       honesty, the knowledge to act in a capacity as a responsible manager of
       sales agents in the State of Maine.

 DSMF ¶ 34. Mr. Knowlton interposed a qualified response, noting that although he

 admitted that Mr. Black made the statement, he denied it was true, observing there

 is other evidence that does not support his statement. PRDSMF ¶ 34.

       The Court refuses to accept the qualified response. If Mr. Knowlton wished

 to place countervailing evidence before the Court, he was free to do so in his

 statement of additional material facts. The Court deems paragraph 34 admitted.

                   o.     DSMF Paragraph 35: Qualified Response

       Bankers Life‘s statement of material facts paragraph 35 reads:

       Although Mr. Knowlton was immediately removed from his position as
       branch manager, Bankers Life did not terminate his contract; instead,
       Bankers Life continued to support him financially by placing him on a
       paid leave of absence.

 DSMF ¶ 35. Mr. Knowlton interposed a qualified response. PRDSMF ¶ 35. He

 admitted that he was immediately terminated as branch manager of the Bangor

 branch on April 14, 2010, but says he was not placed on a paid leave of absence




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 until May 1, 2005. Id. He then asserts other facts about the length of the leave of

 absence and his receipt of short-term disability benefits. Id.

       The Court refuses to accept Mr. Knowlton‘s qualified response. The Bankers

 Life statement does not mention when he started on a paid leave of absence or

 anything about other benefits.      If Mr. Knowlton wished to present additional

 evidence, he was free to do so in his statement of additional material facts. The

 Court deems Bankers Life statement of material facts paragraph 35 admitted.

                     p.    DSMF Paragraph 36: Qualified Response

       Bankers Life‘s statement of material facts paragraph 36 reads:

       Bankers Life also offered Mr. Knowlton an opportunity to stay with the
       company by becoming a unit sales manager in the Boston branch office
       or a unit supervisor in the Concord, New Hampshire branch office.

 DSMF ¶ 36.      Mr. Knowlton interposed a qualified response to this assertion.

 PRDSMF ¶ 36. He says that Bankers Life first offered him the position of branch

 manager for the North Shore office of Bankers Life but later retracted, offering him

 instead the position of unit sales manager. Id.

       The Court refuses to accept Mr. Knowlton‘s qualified response.            The

 statement does not discuss the timing of this offer as opposed to others, only that

 Bankers Life made the offer. If Mr. Knowlton wished to present countervailing

 facts, he was free to do so in his statement of additional material facts. The Court

 deems paragraph 36 admitted.

                     q.    DSMF Paragraph 37: Request to Strike

       Bankers Life‘s statement of material facts paragraph 37 reads:




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       Around this same time, Mr. Knowlton decided that he needed
       counseling, and he also began receiving short-term disability
       payments.

 DSMF ¶ 37. Mr. Knowlton moves to strike the phrase, ―[a]round this same time,‖

 as vague and ambiguous. PRDSMF ¶ 37.

       The Court disagrees. As evidenced by context provided in the preceding two

 proffered facts, ―[a]round this same time‖ obviously refers to the time period after

 Bankers Life removed him from his position as branch manager of the Bangor

 branch. The Court refuses to strike this introductory phrase.

                    r.    DSMF Paragraph 38: Qualified Response

       Bankers Life‘s statement of material facts paragraph 38 reads:

       Ultimately, Mr. Knowlton accepted the opportunity to become a unit
       sales manager in the Boston office, where he began work in November
       2005 when his disability payments ended.

 DSMF ¶ 38. Mr. Knowlton interposed a qualified response in which he seeks to add

 detail to the Bankers Life assertion. PRDSMF ¶ 38. The Court refuses to accept

 the qualified response. If Mr. Knowlton wished to place other evidence before the

 Court, he was free to do so in his statement of additional material facts. The Court

 deems paragraph 38 admitted.

                    s.    DSMF Paragraph 39: Qualified Response

       Bankers Life‘s statement of material facts paragraph 39 reads:

       To help provide Mr. Knowlton with a fresh start, Bankers Life took the
       unusual step of providing him with $9,000 per month of temporary
       financial support.

 DSMF ¶ 39. Mr. Knowlton interposed a qualified response, saying that Bankers

 Life provided him with $4,500 every two weeks, and also supplying some additional


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 facts.    PRDSMF ¶ 39.      Except for the distinction between monthly and semi-

 monthly payments, the Court refuses to accept Mr. Knowlton‘s qualified response.

 If Mr. Knowlton wished to present additional facts, he was free to do so in his

 statement of additional material facts.

                      t.     DSMF Paragraph 40: Qualified Response

          Bankers Life‘s statement of material facts paragraph 40 reads:

          This financial support continued until approximately July 2006.

 DSMF ¶ 40.       Mr. Knowlton interposed a qualified response, observing that the

 financial support continued until April and was reinstated in June after he objected.

 PRDSMF ¶ 40. The Court refuses to accept the qualified response because the

 paragraph does not assert that the financial support was continuous to July 2006,

 only that it continued to July 2006. If Mr. Knowlton wished to present additional

 facts, he was free to do so in his statement of additional material facts.

                      u.     DSMF Paragraph 41: Request to Strike

          Bankers Life‘s statement of material facts paragraph 41 reads:

          At that time, Mr. Knowlton‘s financial support was ended due to his
          poor performance and he was placed on unpaid leave of absence.

 DSMF ¶ 41. Mr. Knowlton asked the Court to strike ―[a]t that time‖ as vague and

 ambiguous. PRDSMF ¶ 41. The Court rejects Mr. Knowlton‘s request. The phrase,

 ―[a]t that time‖ obviously refers to July 2006. However, anticipating that the Court

 might view the statement as referring to July 2006, Mr. Knowlton also denies it,

 saying that Bankers Life ceased its financial support because it had not opened a




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 North Shore office.     He presents additional facts surrounding Bankers Life‘s

 decision not to open a North Shore office.

       Mr. Knowlton‘s denial responds only to the middle portion of paragraph 41,

 discussing Bankers Life‘s reason for terminating the financial support. It does not

 address the assertion that the financial support was ended, or that Mr. Knowlton

 was placed on unpaid leave of absence. The Court views Mr. Knowlton‘s response

 as a qualification, not a wholesale denial. It regards as admitted that the payments

 stopped in July 2006 and that Mr. Knowlton was placed on unpaid leave. It accepts

 Mr. Knowlton‘s denial as to the reason Bankers Life ended the payments.

                    v.     DSMF Paragraph 44: Request to Strike

       Bankers Life‘s statement of material facts paragraph 44 reads:

       Instead, he commuted to Boston from his home in Hampden, Maine on
       Monday and Friday of every week.

 DSMF ¶ 44.      Mr. Knowlton asks the Court to strike this proffered fact as

 argumentative and otherwise denies it, asserting that ―Mr. Knowlton left his home

 in Maine on Monday morning and was in the Boston office of Bankers Life, Monday,

 Tuesday, Wednesday, and Thursday.‖           PRDSMF ¶ 44.   The Court rejects Mr.

 Knowlton‘s request; the Court does not view the fact as argumentative. The Court

 rejects the denial as either an admission or as nonresponsive to the proffered fact.

 If Mr. Knowlton left his home in Maine on Monday morning and was in the Boston

 office through Thursday, it seems likely he commuted back on Friday.

 Alternatively, if it is an attempted denial, the response that Mr. Knowlton was in




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 the Boston office Monday through Thursday, does not address Bankers Life‘s

 assertion that he commuted to Boston on Monday and returned to Maine on Friday.

                    w.    DSMF Paragraph 45: Request to Strike

       Bankers Life‘s statement of material facts paragraph 45 reads:

       In August 2006, Bankers Life offered Mr. Knowlton an opportunity to
       return to work if he would agree to certain performance requirements
       and relocate to Massachusetts within one month.

 DSMF ¶ 45. Mr. Knowlton asks that the Court strike this assertion as hearsay and

 as not properly authenticated. PRDSMF ¶ 45. The Court rejects Mr. Knowlton‘s

 request. Bankers Life‘s statement of material facts summarizes the contents of an

 August 11, 2006 letter from Michael Buckley of Bankers Life to Mr. Knowlton.

 DSMF Attach. 12. It is not hearsay under Rule 803(6) and it meets the authenticity

 requirements of Rule 901. FED. R. EVID. 803(6), 901.

                    x.    DSMF Paragraph 46: Request to Strike

       Bankers Life‘s statement of material facts paragraph 46 reads:

       Mr. Knowlton refused, and his employment with Bankers Life was
       formally terminated effective March 16, 2007.

 DSMF ¶ 46. Mr. Knowlton requested the Court to strike this assertion as hearsay

 and as not properly authenticated.      PRDSMF ¶ 46.       The Court rejects Mr.

 Knowlton‘s request. The assertion is based on a March 16, 2007 letter from James

 Valdez of Bankers Life to Mr. Knowlton. DSMF Attach. 13. It is not hearsay under

 Rule 803(6) and it meets the authenticity requirements of Rule 901. FED. R. EVID.

 803(6); 901.

                    y.    DSMF Paragraph 47: Qualified Response



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       Bankers Life‘s statement of material facts paragraph 47 reads:

       Since his termination, Mr. Knowlton has received numerous job offers
       from other insurance companies, but he rejected them because he does
       not want to work as an insurance agent.

 DSMF ¶ 47.     Mr. Knowlton interposed a qualified response, stating a specific

 number of job offers he has turned down and offering a separate reason for his

 decisions. PRDSMF ¶ 47. The Court rejects Mr. Knowlton‘s qualified response

 since he does not deny the assertion but only wishes to add certain facts. If Mr.

 Knowlton wished to posit additional facts, he was free to do so in his statement of

 additional facts. The Court accepts the denial to the extent it disputes Bankers

 Life‘s contention that he did not want to work as an insurance agent.

                    z.     DSMF Paragraphs 51, 52, 53 and 54: Qualified
                           Responses

       Bankers Life‘s statement of material facts paragraph 51 reads:

       The statements underlying Mr. Knowlton‘s claims against Messrs.
       Buckley and Valdez were all purportedly made before July 2, 2007.

 DSMF ¶ 51. Bankers Life‘s statement of material facts paragraph 52 reads:

       Mr. Knowlton has no evidence that Buckley or Valdez made or
       repeated the slanderous statement alleged in the amended complaint
       after July 2, 2007.

 DSMF ¶ 52. Bankers Life‘s statement of material facts paragraph 53 reads:

       Mr. Knowlton alleged in the amended complaint that Mr. Buckley
       represented to him that Bankers Life had a great employment
       opportunity for him in Massachusetts.

 DSMF ¶ 53. Bankers Life‘s statement of material facts paragraph 54 reads:

       Mr. Knowlton admitted in his deposition, however, that this statement
       was true.



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 DSMF ¶ 54.

       Mr. Knowlton interposed qualified responses to each paragraph, noting that

 the consent agreement between the Bureau and Bankers Life continues to be

 published and that based on his past experience with Messrs. Buckley and Valdez,

 he ―believes that Messrs. Buckley and Valdez continued to repeat the statements

 that he was incompetent and dishonest to other[s] after July 2007.‖ PRDSMF ¶¶

 51–54.

       The Court allows the qualified responses concerning the continuing

 publication of the contents of the consent agreement but rejects the qualified

 responses concerning Mr. Knowlton‘s belief about what Messrs. Buckley and Valdez

 may have said.    The first raises the legal question of continuing publication of

 potential slander; the second, however, is without probative value since it

 essentially relies on Mr. Knowlton‘s understanding of the personalities of Messrs.

 Buckley and Valdez without any direct proof they made any such statements.

 Accordingly, to this extent, the qualifications in the responses are based on

 forbidden character evidence and are speculative. FED. R. EVID. 401, 404(a), 608.

       Mr. Knowlton‘s qualified responses to paragraphs 53 and 54 do not appear to

 relate to those paragraphs and therefore the Court treats the paragraphs as

 admitted.

                    aa.   DSMF Paragraph 55: Request to Strike

       Bankers Life‘s statement of material facts paragraph 55 reads:

       The provision on which Mr. Knowlton relies to support his breach of
       contract claim is found on page one of the Contract:



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       5.     REPRESENTATIONS AND WARRANTIES

       Manager represents and warrants to the Company as follows:
       ….
       (b)   The Manager agrees to abide by all policies, practices and
       procedures adopted by the Company.

 DSMF ¶ 55. Mr. Knowlton requested the Court to strike this assertion on the

 ground that it failed to contain the requisite record citation for the proposition ―the

 provision on which Mr. Knowlton relies.‖ PRDSMF ¶ 55. The Court sustains the

 motion to strike in part, altering the introductory phrase to ―one of the provisions on

 which Mr. Knowlton relies.‖

                     bb.   DSMF Paragraph 56: Qualified Response

       Bankers Life‘s statement of material facts paragraph 56 reads:

       The Contract further provides as follows:

       26. ENTIRE CONTRACT
       This Contract, including the Branch Sales Manager‘s Compensation
       Schedule and any Endorsements, supersedes and terminates all
       previous Contracts, any oral representations or understanding and
       constitutes the entire Contract between the parties. This Contract can
       only be changed or modified by written consent, signed on behalf of the
       Company by the Senior Vice President of Marketing, President or
       Chief Executive Officer of the Company.

 DSMF ¶ 56.      Mr. Knowlton interposed a qualified objection, stating that this

 provision is not controlling under Illinois or Maine law. The Court refuses to accept

 Mr. Knowlton‘s qualified response since it amounts to a legal argument and does

 not address the factual accuracy of the assertion.

                     cc.   DSMF Paragraph 57: Qualified Response

       Bankers Life‘s statement of material facts paragraph 57 reads:




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       The Bankers Life Defendants all testified that they believed the
       Bureau required Bankers Life to relieve Mr. Knowlton of his duties as
       branch manager.

 DSMF ¶ 57. Mr. Knowlton interposed a qualified response, observing that even

 though each of the Bankers Life employees so testified, there is additional evidence

 on this point. PRDSMF ¶ 57. If Mr. Knowlton wished to posit additional facts, he

 was free to do so in his statement of additional material facts. The Court treats this

 paragraph as admitted.

                    dd.    DSMF Paragraph 58: Qualified Response

       Bankers Life‘s statement of material facts paragraph 58 reads:

       Mr. Knowlton‘s pay actually increased when he began working in the
       Boston office.

 DSMF ¶ 58 (emphasis in DSMF). Mr. Knowlton interposed a qualified response,

 acknowledging that he received compensation, to cover his travel, meals, lodging

 and salary when he began working in Boston in excess of his base pay, but when his

 travel, meals, and lodging were backed out of the compensation, his pay did not

 increase when he began working in Boston. PRDSMF ¶ 58. The Court allows Mr.

 Knowlton‘s qualified response to stand since it directly addressed and properly

 qualifies Bankers Life‘s paragraph 58.

              4.    The Plaintiff’s Statement of Additional Material Facts
                    and the Defendant’s Requests to Strike and Objections

       The Rule 56 analysis of Bankers Life‘s responses to Mr. Knowlton‘s

 statement of additional material facts allows a simpler approach.       The familiar

 directive to view the facts in the light most favorable to the non-movant consistent

 with record support means that unless the record does not support Mr. Knowlton‘s


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 statement, the Court must accept it for purposes of ruling on the pending motion.

 See Gillen v. Fallon Ambulance Serv., Inc., 283 F.3d 11, 17 (1st Cir. 2002). Thus,

 unless a qualified response challenges the legitimacy of the statement itself, the

 Court has restricted its rulings to Bankers Life‘s legal objections.

                     a.     PASMF Paragraph 63: Request to Strike

       Mr. Knowlton‘s statement of additional material facts paragraph 63 reads:

       During the 20 years in which Alan Knowlton managed the Bangor
       office of Bankers Life, he was repeatedly advised by Senior Level
       Management of Bankers Life that:

       1) ―It‘s your office;‖
       2) ―It‘s an opportunity to build your own business;‖
       3) ―The Branch Sales Manager is an entrepreneurial opportunity for
          you;‖
       4) ―Take personal ownership of your office;‖
       5) ―Run your office as you see fit;‖
       6) ―Spend your budget as you see fit, it‘s your office.‖

 PSAMF ¶ 63. Bankers Life asked that the paragraph be stricken due to lack of

 specificity since it fails to identify who within senior management made the

 statements. DRPSAMF ¶ 63. The Court rejects Bankers Life‘s request. Based on

 Mr. Knowlton‘s affidavit, PSAMF Attach 1 ¶ 7, he has established a barely

 sufficient foundation.

                     b.     PSAMF Paragraphs 65, 66 and 67: Requests to
                            Strike

       Mr. Knowlton‘s statement of additional material facts paragraph 65 reads:

       During the twenty plus years that Alan Knowlton worked for Bankers
       Life, he knew several individuals who had spent their entire careers as
       Branch Sales Managers with Bankers Life before retiring.




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 PSAMF ¶ 65. Mr. Knowlton‘s statement of additional material facts paragraph 66

 reads:

          During the twenty years that Mr. Knowlton ran the Bangor office of
          Bankers Life, he earned numerous awards for the Bangor office‘s
          performance and the quality of business the office produced.

 PSAMF ¶ 66. Mr. Knowlton‘s statement of additional material facts paragraph 67

 reads:

                Alan Knowlton‘s compensation and benefit plan included:

                Benefits

                a) Group Major Medical Coverage;
                b) Group Dental Coverage;
                c) Supplemental Life and Accidental Death and Dismemberment;
                d) Supplemental Long Term Disability (20%);
                e) Short Term Disability;
                f) Company Paid Term Life;
                g) Company Paid Accidental Death and Dismemberment;
                h) Company Paid Long Term Disability (40%);
                i) Employee Assistance Plan;
                j) Conseco Save 401K (3% company match);
                k) Man[a]gers Deferred Compensation Plan;
                l) Agents Deferred Compensation Plan.

                Managers Compensation

                a) Branch Sales Manager Basic Salary;
                b) Branch Sales Manager Over Write Commission;
                c) Conservation Commission Bonus;
                d) New Agent Incentive Bonuses;
                e) Agent Productivity Bonuses;
                f) Agent Recruiting Bonuses;
                g) Branch Sales Manager Expense Allowance.

                Manager Financial Involvement and Authority

                a) New Agent Development Program—Financing Plan for new Agents,
                Branch Sales Manager pays $50 for new hire;




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                b) Branch Development Expense Allowance—Branch Sales Manager
                pays 4% of income to support;
                c) Branch Prospecting Account;
                d) Branch Sales Man[a]ger‘s Revenue and Expense Component;
                e) Agent Emeritus Program.

 PSAMF ¶ 67.

          Bankers Life asked that the facts be stricken because they are neither

 relevant nor material.     DRPSAMF ¶¶ 65–67.       The Court denies Bankers Life‘s

 requests.    The Court agrees that the facts are neither relevant nor material to

 Bankers Life‘s theory of the case, but concludes they are relevant and material to

 Mr. Knowlton‘s theory of the case. As Bankers Life failed otherwise to respond, the

 Court deems the facts admitted.

                      c.     PSAMF Paragraphs 68, 69: Requests to Strike

          Mr. Knowlton‘s statement of additional material facts paragraph 68 reads:

          The purpose of the benefit and compensation programs provided by
          Bankers Life [was] to provide employees with the expectation and
          security that if they performed their duties faithfully and honestly,
          they could expect to retire from Bankers Life.

 PSAMF ¶ 68. Mr. Knowlton‘s statement of additional material facts paragraph 69

 reads:

          Bankers Life Employee Retirement Plan and Managers Deferred
          Compensation Plan were structured to promote Branch Service
          Managers to stay with the company until they retired.

 PSAMF ¶ 69. Bankers Life requested that these facts be stricken because Mr.

 Knowlton, whose affidavit is the sole record citation in support of these assertions,

 has no personal knowledge of the reasoning behind Bankers Life‘s compensation

 structure. DRPSAMF ¶¶ 68, 69. The Court rejects Bankers Life‘s request. Mr.



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 Knowlton had worked for Bankers Life for nearly twenty-seven years, nearly

 twenty-two of which were as a branch manager. Mr. Knowlton has a sufficient

 personal familiarity with Bankers Life to express his view as to the purpose of its

 compensation structure.

       Bankers Life also objects to both facts on the ground that they are neither

 relevant nor material. Id. The Court denies Bankers Life‘s request. The Court

 agrees that the facts are neither relevant nor material to Bankers Life‘s theory of

 the case, but concludes they are relevant and material to Mr. Knowlton‘s theory of

 the case.

                       d.   PSAMF Paragraph 70: Request to Strike

       Mr. Knowlton‘s statement of additional fact paragraph 70 reads:

       Bankers Life had policies, which encouraged Branch Sales Managers
       to stay with Bankers Life until they retired.

 PSAMF ¶ 70. Bankers Life requested that this fact be stricken because it is neither

 relevant nor material. DRPSAMF ¶ 70. The Court rejects Bankers Life‘s request.

 The Court agrees that the fact is neither relevant nor material to Bankers Life‘s

 theory of the case, but concludes it is relevant and material to Mr. Knowlton‘s

 theory of the case.

                       e.   PSAMF Paragraphs 73, 74, 75, 76, 77, 78, 79, 80, 81,
                            82, 85, 86, 87, 88, 89, 117, 118, 129: Requests to Strike

       Mr. Knowlton‘s statement of additional material facts paragraph 73 reads:

       In or around 2001 Van Sullivan within the Market Conduct Division of
       the Maine Bureau of Insurance under the auspices of Deputy
       Superintendent, Eric Ciopa, began conducting an investigation into the
       market conduct practices of Bankers, with a specific focus on certain
       sales practices which targeted elderly consumers.


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 PSAMF ¶ 73. Mr. Knowlton‘s statement of additional material facts paragraphs 74,

 75, 76, 77, 78, 79, 80, 81, 82, 85, 86, 87, 88, 89 and 129 contain similar assertions

 about the Bureau of Insurance investigation of Bankers Life. PSAMF ¶¶ 74–82,

 85–89, 129.

       Bankers Life requested that each of these facts be stricken because they are

 not based on Mr. Knowlton‘s personal knowledge, and to the extent he gained

 personal knowledge, it was obtained by inadmissible hearsay. DRPSAMF ¶¶ 73–

 82, 85–89, 129. Further, Bankers Life contends the facts are neither relevant nor

 material. Id.

       The Court denies Bankers Life‘s requests to strike. The Court agrees with

 Bankers Life that the way Mr. Knowlton elected to present these facts—namely,

 through his own affidavit, rather than through the testimony of a Bureau of

 Insurance or Bankers Life employee—presents a potentially serious foundational

 problem for admissibility, particularly at trial. Mr. Knowlton does not reveal how

 he knows what the Bankers Life and Bureau employees discussed. Nevertheless,

 the Court will not assume for purposes of this motion that Mr. Knowlton does not

 know or could not testify to what he set forth in his affidavit.

       The hearsay objection is less compelling. Most of the facts are not being

 offered for the truth but to explain the Bureau of Insurance‘s and Bankers Life‘s

 motivations leading to his termination as Bangor branch office manager. In fact,

 Mr. Knowlton disagrees vehemently with the conclusions of incompetence and

 dishonesty that the Bureau apparently reached and he also pointedly disputes



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 Bankers Life‘s current descriptions of its reluctant acquiescence to Bureau pressure.

 Accordingly, only for purposes of the motion for summary judgment, the Court

 accepts these additional material facts.

       Regarding Bankers Life‘s relevancy and materiality objections, the Court

 agrees that the facts are neither relevant nor material to Bankers Life‘s theory of

 the case, but concludes they are relevant and material to Mr. Knowlton‘s theory of

 the case.

                    f.     PSAMF Paragraph 93: Qualified Response

       Mr. Knowlton‘s statement of additional material facts paragraph 93 reads:

       James Valdez, Michael Buckley, and Bruce Jordan all repeatedly
       represented to Alan Knowlton that the Bureau required his
       termination as a condition of the April 11, 2005 Consent Agreement.

 PSAMF ¶ 93. Bankers Life interposed a qualified response, saying that the term

 ―repeatedly‖ is vague.     DRPSAMF ¶ 93.        The Court refuses to accept this

 qualification. Whenever three people all say the same thing, the thing has been

 said repeatedly.

                    g.     PSAMF Paragraph 94: Qualified Response

       Mr. Knowlton‘s statement of additional material facts paragraph 94 reads:

       Mr. Knowlton was not given notice, nor an opportunity to be heard
       before he was terminated as the Branch Manager of the Bangor office
       of Bankers Life.

 PSAMF ¶ 94. Bankers Life interposed a qualified response on the ground that the

 ―statement is vague.‖ DRPSAMF ¶ 94. The Court refuses to accept Bankers Life‘s

 qualified response. The fact is deemed admitted.

                    h.     PSAMF Paragraph 95: Request to Strike


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       Mr. Knowlton‘s statement of additional material facts paragraph 95 reads:

       In 2005 James Valdez, Michael Buckley, and Bruce Jordan were
       agents of Bankers Life in all of their dealings with Alan Knowlton.

 PSAMF ¶ 95. Bankers Life requested that this assertion be stricken because it

 constitutes a legal conclusion. DRPSAMF ¶ 95. The Court rejects Bankers Life‘s

 request. Agency contains both factual and legal elements. As Bankers Life did not

 otherwise respond, the Court accepts Bankers Life‘s response as admitting the facts

 underlying agency but not the legal conclusion of agency.

       Furthermore, the Court wonders whether Bankers Life is making this

 objection for the sake of making an objection. In Bankers Life‘s attachments to its

 statement of material facts, it attached the deposition transcripts of James Valdez,

 Michael Buckley, and Bruce Jordan and in each of the transcripts, each admits he is

 a Bankers Life‘s management employee and was so employed during the relevant

 time period. DSMF Attach. 7 at 5:11–6:8 (Dep. of James Valdez); DSMF Attach. 2

 at 5:17–6:5 (Dep. of Michael Buckley); DSMF Attach. 11 at 5:11–7:9 (Dep. of Bruce

 Jordan).

                    i.    PSAMF Paragraphs 103, 104, 106 and 107: Requests
                          to Strike

       Mr. Knowlton‘s statement of additional material facts paragraph 103 reads:

       On December 15, 2005, Alan Knowlton responded to an advertisement
       run in the December 11, 2005 weekend edition of the Bangor Daily
       News. The advertisement stated that an ―Insurance Professional
       Wanted for Branch Manager Position.‖ He called and left a message
       that he was interested in the position.

 PSAMF ¶ 103. Mr. Knowlton posited a number of similar assertions relating to his

 conversations about a potential position as state of Maine branch manager with


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 Combined Insurance and his decision not to accept the job offer. PSAMF ¶¶ 104,

 106, 107.   Bankers Life requested that each of these assertions be stricken as

 inadmissible hearsay. DRPSAMF ¶¶ 103, 104, 106, 107.           Some are clearly not

 hearsay. For example, Mr. Moorehead‘s statement that he was in the airport and

 could not speak in detail is not offered for the truth. See PSAMF ¶ 104. To the

 extent that the statements of third parties are hearsay and are submitted for the

 truth, the Court sustains the objection; to the extent the statements are not for the

 truth but to provide context for Mr. Knowlton‘s personal knowledge, the Court

 rejects the objection.   The essence of these statements, however, is that Mr.

 Knowlton received a job offer from Combined Insurance, and on this point, the

 Court accepts the facts since they fall within Mr. Knowlton‘s personal knowledge

 and are not hearsay.

                    j.     PSAMF Paragraphs 112 and 113: Requests to Strike

       Alan Knowlton‘s statement of additional material facts paragraph 112 reads:

       Bankers Life never raised the issue of poor performance with Mr.
       Knowlton. In July 2006 the only conversations between Bankers Life
       and Alan Knowlton surrounded his complaints to management that he
       had been treated poorly as a result of the Maine Consent Agreement,
       and the fact that he had not yet moved to Massachusetts. Part of the
       reason Mr. Knowlton had not yet moved was he was still in treatment
       for depression and anxiety in Maine.

 PSAMF ¶ 112. His statement of material facts paragraph 113 reads:

       On June 27, 2006, James Valdez represented to Alan Knowlton‘s
       Counsel that he was not competent to be a Branch manager stating,
       ―Quite to the contrary, the investigation by the Maine Bureau of
       Insurance led the Bureau to conclude that Mr. Knowlton was not
       competent to manage the Bangor office, nor remain in any
       management capacity in any Maine branch operated by Bankers Life
       and Casualty Company.‖


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 PSAMF ¶ 113. In addition to denying and qualifying the respective facts, Bankers

 Life requested that the facts be struck as neither relevant nor material. DRPSAMF

 ¶¶ 112, 113. The Court rejects the request. The Court agrees that the facts are

 neither relevant nor material to Bankers Life‘s theory of the case, but concludes

 they are relevant and material to Mr. Knowlton‘s theory of the case.

                     k.    PSAMF Paragraph 114: Request to Strike

       Alan Knowlton‘s statement of additional material facts paragraph 114 reads:

       James Valdez statement disparaged Alan Knowlton‘s character by
       suggesting that he was incompetent and dishonest in his business
       dealings.

 PSAMF ¶ 114.      Bankers Life requested that this paragraph be stricken on the

 ground that it is a legal conclusion and neither relevant nor material. DRPSAMF ¶

 114. The Court rejects Bankers Life‘s request and treats the paragraph solely as

 matters of fact, not law. Further, while the Court agrees that the fact is neither

 relevant nor material to Bankers Life‘s theory of the case, it concludes it is relevant

 and material to Mr. Knowlton‘s theory of the case.

                     l.    PSAMF Paragraphs 115 and 116: Requests to Strike

       Alan Knowlton‘s statement of additional material facts paragraph 115 reads:

       On July 7, 2006, Michael Buckley again told Alan Knowlton that the
       State of Maine Bureau of Insurance required that he be replaced as a
       Branch Sales Manager.

 PSAMF ¶ 115. Mr. Knowlton‘s statement of additional material facts paragraph

 116 reads:

       On July 7, 2006, Michael Buckley told Mr. Knowlton that the Bureau
       found he was incompetent to be a Branch Sales Manager in Maine.



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 PSAMF ¶ 116. Bankers Life requested that the facts be stricken on the ground that

 they are neither relevant nor material. DRPSAMF ¶¶ 115, 116. The Court rejects

 the request. The Court agrees that the facts are neither relevant nor material to

 Bankers Life‘s theory of the case, but concludes they are relevant and material to

 Mr. Knowlton‘s theory of the case.

                    m.     PSAMF Paragraphs 121 and 122: Requests to Strike

       Mr. Knowlton‘s statement of additional material facts paragraph 121 states:

       Bankers Life contracted with Alan Knowlton to be Branch Sales
       manager of the Bangor office of Bankers Life until his retirement
       provided he performed his duties faithfully and honestly.

 PSAMF ¶ 121. Mr. Knowlton‘s statement of additional material facts paragraph

 122 reads:

       Bankers Life breached its agreement with Alan Knowlton by
       constructively discharging him from his employment with Bankers Life
       on or about April 14, 2005.

 PSAMF ¶ 122. Bankers Life requested that the paragraphs be stricken because

 they state legal conclusions, not facts. DRPSAMF ¶¶ 121, 122. The Court agrees

 and strikes the two material facts.

                    n.     PSAMF Paragraph 123: Request to Strike

       Mr. Knowlton‘s statement of additional material facts paragraph 123 states:

       The contract between Alan Knowlton and Bankers Life and Casualty Co.
       contained a covenant of good faith and fair dealing.

 PSAMF ¶ 123. Banker Life requested that this paragraph be stricken because it

 states a legal conclusion. DRPSAMF ¶ 123. The Court agrees and strikes this

 paragraph. Mr. Knowlton does not cite a provision of the contract itself as support;



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 instead, he cites his own affidavit.            The Court draws the conclusion that the

 contract does not contain such a provision but that Mr. Barker believes it should be

 implied as a matter of law. Whether it should be is not a matter of personal opinion

 but of law.

                        o.      PSAMF Paragraphs 127, 128, 130: Requests to
                                Strike

         Mr. Knowlton‘s statement of additional material facts paragraph 127 reads:

         Alan Knowlton relied upon the promises made by Bankers Life to his
         detriment.

 PSAMF ¶ 127. Mr. Knowlton‘s statement of additional material facts paragraph

 128 reads:

         Bankers Life has failed to honor the promises it made to Alan
         Knowlton.

 PSAMF ¶ 128. Mr. Knowlton‘s statement of additional material facts 130 reads:

         When Alan Knowlton learned that Bankers had made representations
         to him that were untrue, he brought an action against them. That
         action is premised on the facts of the case, the terms of the contract,
         the policies, procedures, and practices of Bankers Life and Mr.
         Knowlton‘s understanding of his rights under Maine and Illinois law.

 PSAMF ¶ 130. Bankers Life requested that these paragraphs be stricken on the

 ground that they are legal conclusions. As regards paragraphs 127 and 128, the

 Court rejects Bankers Life‘s requests and treats the assertions solely as matters of

 fact, not law. As regards paragraph 130, the Court agrees and strikes paragraph

 130.4


 4 In Bankers Life‘s reply to Mr. Knowlton‘s statement of additional material facts, it posited a reply

 statement of material fact. DRPSAMF ¶¶ 131–36. Under Local Rule 56(d), Bankers Life‘s reply to
 Mr. Knowlton‘s opposition to its statement of material facts ―shall be limited to any additional facts
 submitted by the opposing party.‖ D. ME. LOC. R. 56(d). The parties have amassed a grand total of


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        E.      The Refined Statement of Facts

        After resolving the parties‘ multiple objections, viewing the evidence in the

 light most favorable to Mr. Knowlton, the following facts emerge:

        Bankers Life hired Alan Knowlton as a Sales Agent in November 1980 in the

 Concord, New Hampshire office. PSAMF ¶ 59; DRPSAMF ¶ 59. In May 1985,

 Bankers Life promoted Mr. Knowlton to the position of Branch Sales Manager for

 its Bangor, Maine office. PSAMF ¶ 60; DRPSAMF ¶ 60. In his position as Branch

 Sales Manager, Mr. Knowlton was responsible for recruiting, training, and

 developing career agents, sales managers, and administrative staff as well as

 monitoring and supervising the functions of agents, managers, and staff. PSAMF ¶

 61; DRPSAMF ¶ 61. During Mr. Knowlton‘s term as Branch Sales Manager, the

 Bangor office of Bankers Life grew from three to twenty-five to thirty agents and

 from a Bankers Life ranking of 219 out of 225 offices to one of its top fifty branch

 offices. PSAMF ¶ 62; DRPSAMF ¶ 62.

        On January 1, 1995, and again in January 2006, Mr. Knowlton entered into

 written branch sales manager employment contracts with Bankers Life. DSMF ¶¶

 7–8; PRDSMF ¶¶ 7–8. Both contracts contain substantially the same provisions;

 however, the January 1, 1995 employment contract governs this lawsuit. DSMF ¶¶

 9–10; PRDSMF ¶¶ 9–10. The January 1, 1995 contract provides that ―[e]ither party

 may terminate this Contract at will, without cause, by giving written notice to the

 other party.‖ DSMF ¶ 11; PRDSMF ¶ 11. The contract further provides that it

 130 separate material facts, and the Court has not considered the reply statement of material facts
 on the ground that the reply violates the local rule and on the premise that by the time of the reply,
 everything that should have been said, has been said.


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 ―supersedes and terminates all previous Contracts, any oral representations or

 understandings and constitutes the entire Contract between the parties.‖ DSMF ¶

 13; PRDSMF ¶ 13. The contract also provides that it could only be ―changed or

 modified by written consent signed on behalf of the Company.‖          DSMF ¶ 14;

 PRDSMF ¶ 14.

       During the twenty years he served as the Bangor office Branch Sales

 Manager, senior level management at Bankers Life told Mr. Knowlton: ―It‘s your

 office,‖ ―It‘s an opportunity to build your own business,‖ ―The Branch Sales Manager

 is an entrepreneurial opportunity for you,‖ ―Take personal ownership of your office,‖

 ―Run your office as you see fit,‖ and ―Spend your budget as you see fit, it‘s your

 office.‖ PSAMF ¶ 63; DRPAMF ¶ 63. All of these statements led Mr. Knowlton to

 believe that his position and career were secure as long as he continued to honestly

 and faithfully perform his work, and based on these statements, he understood that

 he had a contract for continued employment for as long as he wanted to work with

 Bankers Life. PSAMF ¶ 64; DRPAMF ¶ 64. During his twenty years at Bankers

 Life, Mr. Knowlton knew several individuals who had spent their entire careers as

 Branch Sales Managers at Bankers Life before retiring. PSAMF ¶ 65; DRPSAMF ¶

 65. During his time at Bankers Life, Mr. Knowlton earned numerous awards for

 the Bangor office‘s performance and the quality of the business it produced.

 PSAMF ¶ 66; DRPSAMF ¶ 66.

       Mr. Knowlton‘s compensation and benefit plans at Bankers Life included:

              Benefits




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             a) Group Major Medical Coverage;
             b) Group Dental Coverage;
             c) Supplemental Life and Accidental Death and Dismemberment;
             d) Supplemental Long Term Disability (20%);
             e) Short Term Disability;
             f) Company Paid Term Life;
             g) Company Paid Accidental Death and Dismemberment;
             h) Company Paid Long Term Disability (40%);
             i) Employee Assistance Plan;
             j) Conseco Save 401K (3% company match);
             k) Man[a]gers Deferred Compensation Plan;
             l) Agents Deferred Compensation Plan.

             Managers Compensation

             a) Branch Sales Manager Basic Salary;
             b) Branch Sales Manager Over Write Commission;
             c) Conservation Commission Bonus;
             d) New Agent Incentive Bonuses;
             e) Agent Productivity Bonuses;
             f) Agent Recruiting Bonuses;
             g) Branch Sales Manager Expense Allowance.

             Manager Financial Involvement and Authority

             a) New Agent Development Program—Financing Plan for new Agents,
                Branch Sales Manager pays $50 for new hire;
             b) Branch Development Expense Allowance—Branch Sales Manager
                pays 4% of income to support;
             c) Branch Prospecting Account;
             d) Branch Sales Man[a]ger‘s Revenue and Expense Component;
             e) Agent Emeritus Program.

 PSAMF ¶ 67; DRPSAMF ¶ 67.           The purpose of Bankers Life‘s benefit and

 compensation programs was to provide employees with the expectation and security

 that if they performed their duties faithfully and honestly, they could expect to

 retire from Bankers Life. PSAMF ¶ 68; DRPSAMF ¶ 68. More specifically, the

 Bankers Life policies, Employee Retirement Plan and Managers Deferred

 Compensation Plan were structured to encourage Branch Service Managers to stay



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 with Bankers Life until they retired. PSAMF ¶¶ 69, 70; DRPSAMF ¶¶ 69, 70.

 Furthermore, Mr. Knowlton understood from repeated conversations with Leroy

 Kunselman and Bruce Jordan that Bankers Life had a policy or practice only to

 terminate its branch sales managers for lack of performance or proven wrongdoing.

 PSAMF ¶ 71; DRPSAMF ¶ 71. Based on the benefit and compensation plan, the

 policies, procedures, and actions of Bankers Life, Mr. Knowlton understood that he

 had a guarantee of continued employment until he retired, provided he performed

 his duties adequately, honestly, and diligently. PSAMF ¶ 72; DRPSAMF ¶ 72.

       In 2001, Mr. Van Sullivan, an employee within the Market Conduct Division

 of the Maine Bureau of Insurance, under the auspices of Deputy Superintendent

 Eric Ciopa, began an investigation into the marketing practices of Bankers Life

 with a specific focus on sales practices that targeted elderly consumers. PSAMF ¶

 73; DRPSAMF ¶ 73.        The investigation revealed significant violations in the

 Bankers Life South Portland branch office. PSAMF ¶¶ 73–74; DRPSAMF ¶¶ 73–

 74. The investigation did not, however, reveal any evidence of significant violations

 in the Bangor branch office of Bankers Life. PSAMF ¶ 75; DRPSAMF ¶ 75. The

 Van Sullivan investigation was turned over to Judith Shaw, the Bureau‘s Deputy

 Superintendent, in 2002; however, Deputy Shaw, Assistant Attorney General

 Andrew Black, and Director of Consumer Healthcare for the Bureau, Glenn

 Griswold, never reviewed the results of the Van Sullivan report. PSAMF ¶¶ 80–81;

 DRPSAMF ¶¶ 80–81.




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       In 2002, after learning about a number of complaints against Bankers Life,

 Deputy Shaw instructed Director Griswold to assign investigators to determine

 whether Bankers Life was engaging in systemic improper sales practices. PSAMF ¶

 77; DRPSAMF ¶ 77. Mr. Griswold assigned Mike McGonigle and Linda Dion to

 conduct the investigation. PSAMF ¶ 78; DRPSAMF ¶ 78. Neither Mike McGonigle

 nor Linda Dion could identify any management or other practices that Mr.

 Knowlton engaged in that led to any systemic improper sales actions in the Bangor

 office of Bankers Life. PSAMF ¶ 79; DRPSAMF ¶ 79.

       On April 5, 2005, the Bureau—through Deputy Shaw and Director

 Griswold—entered into a Consent Agreement with Mr. Knowlton and the Maine

 Office of the Attorney General, through Andrew Black. PSAMF ¶ 83; DRPSAMF ¶

 83. The Consent Agreement with Mr. Knowlton provided that the Bureau and the

 Office of Attorney General agreed ―to forego pursuing further disciplinary measures

 or other civil or administrative sanctions against Mr. Knowlton for violations

 described in the Stipulations, other than those agreed to in this Consent

 Agreement.‖ PSAMF ¶ 84; DRPSAMF ¶ 84. While promising Mr. Knowlton that no

 further civil or administrative sanctions would be taken against him, Deputy Shaw,

 Director Griswold, and Attorney Black were negotiating his termination with

 Bankers Life. PSAMF ¶ 85; DRPSAMF ¶ 85.

       Between January 1, 2002 and April 11, 2005, the Bureau of Insurance

 received 70 formal complaints alleging violations of the Maine Insurance Code by

 agents appointed by Bankers Life, including agents recruited, trained, and




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 supervised by Mr. Knowlton in the Bangor branch office. DSMF ¶ 16; PRDSMF ¶

 16. Based on these complaints, the Bureau reached the following conclusion:

       It is the position of the Bureau of Insurance that the substantial
       number and nature of consumer complaints received by the Bureau
       related to Bankers Life and its Maine producers, branch and unit
       managers, represents an unacceptable level of incompetence with
       respect to the elderly population to which Bankers Life‘s products are
       sold, and a lack of adherence to legal requirements; therefore, neither
       the South Portland nor Bangor branch can be operated in full
       compliance with Maine law and this Consent Agreement as those
       branches are currently operated. As such, it is necessary for Bankers
       Life to take serious measures to create a new culture dedicated to the
       development and maintenance of a strong compliance philosophy.

 DSMF ¶ 17; PRDSMF ¶ 17. To address this situation, the Bureau and Bankers Life

 entered into a Consent Agreement on April 11, 2005. DSMF ¶ 18; PRDSMF ¶ 18.

 Among other provisions, the Consent Agreement required that ―Bankers Life shall

 relieve the managers of its South Portland and Bangor branch offices of their

 positions as branch managers‖ and that, until these staffing changes were made,

 Bankers Life would ―suspend the sale of all deferred annuity products in the State

 of Maine.‖ DSMF ¶¶ 19, 20; PRDSMF ¶¶ 19, 20. Deputy Shaw testified that the

 removal of the branch managers ―was predicated on the Bureau‘s position‖ that the

 two branch offices were not being competently managed and that Bankers Life was

 required to take ―serious measures‖ to change the culture in those offices. DSMF ¶

 21; PRDSMF ¶ 21.

       Although there is contradictory evidence as to whether Bankers Life

 attempted to convince the Bureau to allow it to retain Mr. Knowlton as Bangor

 Branch Sales Manager, the Court recites the evidence in the light most favorable to




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 Mr. Knowlton. Mr. Knowlton says that as part of the negotiations that led to the

 April 11, 2005 Consent Agreement, the Bureau originally proposed that Bankers

 Life agree to an audit of the managers‘ practices in the Bangor and South Portland

 offices, a process that would have allowed Mr. Knowlton to defend himself. PSAMF

 ¶¶ 87, 129; DRPSAMF ¶¶ 87, 129. In response, Bankers Life asked the Bureau to

 insert language in the Consent Agreement that confirmed that the Bureau had

 investigated the complaints involving the South Portland and Bangor branch

 managers, but the Bureau refused to do so because it had not performed such an

 investigation.   PSAMF ¶¶ 88–89; DRPSAMF ¶¶ 88–89.            At that point, Mr.

 Knowlton says it was Bankers Life that proposed to remove Mr. Knowlton from his

 job as Bangor Branch Sales Manager.      PSAMF ¶ 129; DRPSAMF ¶ 129.          Mr.

 Knowlton believes that Bankers Life proposed removing him from his job in order to

 prevent the Bureau from investigating Neal Quimby, one of Bankers Life‘s top

 producers. PSAMF ¶ 124; DRPSAMF ¶ 124. Bankers Life President, Scott Perry,

 and Vice-President, John Scheils, agreed with the state of Maine that Mr. Knowlton

 could no longer be a branch sales manager in a state other than Maine because

 Bankers Life would lose credibility. PSAMF ¶ 118; DRPSAMF ¶ 118.

       After Bankers Life entered into the April 11, 2005 Consent Agreement, it

 approached Mr. Knowlton on April 14, 2005. The Bankers Life supervisors told Mr.

 Knowlton that the Bureau had insisted upon his removal as Bangor Branch Sales

 Manager and that Bankers Life had fought with the Bureau to preserve his position

 since they knew that he was not at fault. PSAMF ¶¶ 96–99; DRPSAMF ¶¶ 96–99.




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 They assured him that Bankers Life would take care of him.          PSAMF ¶ 99;

 DRPSAMF ¶ 99. Even so, the Bankers Life supervisors told him that the Bureau

 had insisted that he no longer serve as a branch manager not only in Maine but

 anywhere else in the United States. PSAMF ¶¶ 101, 102; DRPSAMF ¶¶ 101, 102.

 Mr. Knowlton later learned that these representations were untrue. PSAMF ¶ 130;

 DRPSAMF ¶ 130.

       After Bankers Life removed Mr. Knowlton from the position of Bangor

 Branch Manager, it placed Mr. Knowlton on short-term disability. DSMF ¶ 37;

 PRDSMF ¶ 37.      Mr. Knowlton continued to receive short-term disability until

 November 2005, when he began to work as a unit sales manager in the Bankers

 Life Boston office. DSMF ¶ 38; PRDSMF ¶ 38. However, Bankers Life continued to

 pay Mr. Knowlton $4,500 every other week until July 2006.        DSMF ¶¶ 39–40;

 PRDSMF ¶¶ 39–40.

       On July 1, 2005, Bankers Life told Mr. Knowlton that it had a great

 opportunity for him in Massachusetts to build a branch sales office on the North

 Shore. PSAMF ¶ 100; DRPSAMF ¶ 100. They told him that he would have to start

 as a unit sales manager at the Bankers Life Boston office as it would take a little

 time to set up the North Shore office.    PSAMF ¶ 109; DRPSAMF ¶ 109.          Mr.

 Knowlton relied on these representations and believing his move to Branch

 Manager of the North Shore office was imminent, he accepted the demotion to be

 Unit Sales Manager on a temporary basis. PSAMF ¶ 109; DRPSAMF ¶ 109.




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       On December 15, 2005, after Mr. Knowlton began work in Boston for Bankers

 Life, he responded to an advertisement for a branch manager position for an

 insurance company. PSAMF ¶ 103; DRPSAMF ¶ 103. On December 16, 2005, Mike

 Moorehead of Combined Insurance (―Combined‖) contacted Mr. Knowlton and told

 him that someone from Combined would be in touch with him. PSAMF ¶ 104;

 DRPSAMF ¶ 104. On January 4, 2006, John Morrison of Combined interviewed

 Mr. Knowlton for the position of Branch Manager for Combined‘s Maine offices.

 PSAMF ¶ 105; DRPSAMF ¶ 105. On January 23, 2006, Mr. Morrison and Kay (Mr.

 Morrison‘s boss) met with Mr. Knowlton and offered him the position of Territorial

 Manager for Combined. PSAMF ¶ 107; DRPSAMF ¶ 107. Mr. Knowlton rejected

 Combined‘s offer because he felt personal loyalty to Bankers Life based on its prior

 representations that it had fought for him with the Bureau of Insurance and based

 on its promise to make him the Branch Office Manager for its North Shore Branch.

 PSAMF ¶ 108; DRPSAMF ¶ 108.

       During his time as Unit Sales Manager in Boston, Mr. Knowlton recruited a

 number of new agents, was assigned to train them, and although he sold numerous

 policies, he gave all his sales to the agents in an attempt to retain them. PSAMF ¶

 111; DRPSAMF ¶ 111.        Bankers Life did not raise any issues with his job

 performance in Boston. PSAMF ¶ 112; DRPSAMF ¶ 112. Mr. Knowlton continued

 to live in Hampden, Maine during this time. DSMF ¶¶ 43–44; PRDSMF ¶¶ 43–44.

 In June and July 2006, James Valdez and Michael Buckley disparaged Mr.

 Knowlton, stating that he was not competent to be a branch manager, suggesting




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 that he was incompetent and dishonest, and asserting that he had engaged in

 improper and dishonest sales practices. PSAMF ¶¶ 113–18; DRPSAMF ¶¶ 113–18.

 By July 2006, Bankers Life had not opened the branch office on the North Shore.

 PSAMF ¶ 110; DRPSAMF ¶ 110. In July 2006, Bankers Life ended its financial

 support of Mr. Knowlton and in August 2006, it offered Mr. Knowlton the

 opportunity to return to work if he would agree to certain performance

 requirements and relocate to Massachusetts within one month.                           DSMF ¶ 45;

 PRDSMF ¶ 45.             Mr. Knowlton refused and Bankers Life terminated his

 employment effective March 16, 2007. DSMF ¶ 46; PRDSMF ¶ 46.

 II.    DISCUSSION

        A.      The Summary Judgment Standard5

        Summary judgment is appropriate ―if the movant shows that there is no

 genuine dispute as to any material fact and the movant is entitled to judgment as a

 matter of law.‖ FED. R. CIV. P. 56(a). A fact is ―material‖ if it ―has the potential to

 change the outcome of the suit under the governing law if the dispute over it is

 resolved favorably to the nonmovant.‖ McCarthy v. Nw. Airlines, Inc., 56 F.3d 313,

 315 (1st Cir. 1995); accord Buchanan v. Maine, 469 F.3d 158, 166 (1st Cir. 2006);

 Seaboard Sur. Co. v. Town of Greenfield, 370 F.3d 215, 218–19 (1st Cir. 2004). An


 5 On December 1, 2010, while these motions were pending, an amended version of Rule 56 of the

 Federal Rules of Civil Procedure became effective. See Farmers Ins. Exch. v. RNK, Inc., 632 F.3d
 777, 782 n.4 (1st Cir. 2011). Applying the amended version of Rule 56 to this case is ―just and
 practicable‖ and would not ―work a manifest injustice‖ because the amendments ―do not change the
 summary judgment standard or burdens.‖ Id. See also Tropigas de Puerto Rico, Inc. v. Certain
 Underwriters At Lloyds Of London, 637 F.3d 53, 56 n.5 (1st Cir. 2011) (stating that ―[t]he
 substantive standard for summary judgment remains unchanged‖); Ophthalmic Surgeons, Ltd. v.
 Paychex, Inc., 632 F.3d 31, 35 n.4 (1st Cir. 2011) (same); Del Toro Pacheco v. Pereira, 633 F.3d 57, 62
 n.6 (1st Cir. 2011) (same); Hartford Fire Ins. Co. v. CAN Ins. Co. (Eur.), 633 F.3d 50, 54 n.6 (1st Cir.
 2011) (same).


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 issue is genuine if ―the evidence about the fact is such that a reasonable jury could

 resolve the point in favor of the nonmoving party.‖ McCarthy, 56 F.3d at 315

 (quoting United States v. One Parcel of Real Prop. with Bldgs., Appurtenances, and

 Improvements, Known As Plat 20, Lot 17, Great Harbor Neck, New Shoreham,

 Rhode Island, 960 F.2d 200, 204 (1st Cir. 1992)); accord Seaboard Sur. Co., 370 F.3d

 at 218–19. Once this evidence is supplied by the moving party, the nonmovant

 ―must point to ‗competent evidence‘ and ‗specific facts‘ to stave off summary

 judgment.‖ Tropigas de Puerto Rico, Inc., 637 F.3d at 56; accord ATC Realty, LLC

 v. Town of Kingston, 303 F.3d 91, 94 (1st Cir. 2002).

       The Court ―afford[s] no evidentiary weight to ‗conclusory allegations, empty

 rhetoric, unsupported speculation, or evidence which, in the aggregate, is less than

 significantly probative.‘‖ Tropigas de Puerto Rico, Inc., 637 F.3d at 56 (quoting

 Rogan v. City of Boston, 267 F.3d 24, 27 (1st Cir. 2001)); accord Sutliffe v. Epping

 Sch. Dist., 584 F.3d 314, 325 (1st Cir. 2009); Carroll v. Xerox Corp., 294 F.3d 231,

 236–37 (1st Cir. 2002).      Rather, the non-moving party must ―present ‗enough

 competent evidence‘ to enable a factfinder to decide in its favor on the disputed

 claims.‖ Carroll, 294 F.3d at 237 (quoting Goldman v. First Nat’l Bank of Boston,

 985 F.2d 1113, 1116 (1st Cir. 1993)). The Court then ―views the facts and draws all

 reasonable inferences in favor of the nonmoving party.‖ Ophthalmic Surgeons, Ltd.,

 632 F.3d at 35; accord Merchs. Ins. Co. of N.H., Inc. v. United States Fid. & Guar.

 Co., 143 F.3d 5, 7 (1st Cir. 1998).

       B.     Choice of Law

       The contract between Bankers Life and Mr. Knowlton has a choice of law


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 provision:

        This Contract shall be construed in accordance with the laws of the
        State of Illinois exclusive of choice of law provisions.

 DSMF Attach. 1 Ex A-1 (Branch Sales Manager Contract) ¶ 25. Mr. Knowlton

 argues and Bankers Life agrees that Illinois substantive law controls his

 contractual claims.      Pl.’s Resp. at 5–6; Def.’s Reply at 2 (stating that ―both the

 Contract and controlling Illinois law refute Mr. Knowlton‘s argument‖). Similarly,

 the parties agree that Maine law controls the tort claims. Pl.’s Resp. at 6; Def.’s

 Reply at 5–7 (analyzing tort claims under Maine law).

        C.      Slander Per Se (Counts XV and XVIII)

        In Count XV of his Amended Complaint, Mr. Knowlton says that on July 27,

 2006, James Valdez told a person named Lucy Karl ―Quite to the contrary, the

 investigation by the investigation by (sic) the Maine Bureau of Insurance led the

 Bureau to conclude that Mr. Knowlton was not competent to manage the Bangor

 office, nor remain in any management capacity in any Maine branch operated by

 Bankers Life and Casualty Company.‖6 Am. Compl. ¶ 183. Mr. Knowlton alleges

 ―[u]pon information and belief‖ that James Valdez has repeated that statement to

 other third parties. Id. ¶ 184.



 6 Paragraph 183 of the Amended Complaint reads:



        On June 27, 2006 James Valdez told Lucy Karl, Counsel ―Quite to the contrary, the
        investigation by the investigation by the Maine Bureau of Insurance led the Bureau
        to conclude that Mr. Knowlton was not competent to manage the Bangor office, nor
        remain in any management capacity in any Maine branch operated by Bankers Life
        and Casualty Company.

 The identity and significance of ―Lucy Karl Counsel‖ is a mystery. She is not mentioned further in
 the parties‘ memoranda or in their statements of facts.


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       In Count XVIII of his Amended Complaint, Mr. Knowlton alleges that on July

 7, 2006, Michael Buckley ―told Gerald Glynn among other things, that the State of

 Maine had determined that Alan Knowlton could not be a Branch Sales Manager in

 Maine [or in any state] because of Alan Knowlton‘s improper/dishonest sales

 practices.‖ Id. ¶¶ 212, 213. Mr. Knowlton alleges ―[u]pon information and belief‖

 that Michael Buckley has repeated that statement to other third parties. Id. ¶ 214.

       On December 14, 2009, Bankers Life moved to dismiss Counts XV and XIII

 on statute of limitations grounds, Bankers Life Defs.’ Mot. to Dismiss, and on April

 27, 2010, applying Maine‘s two-year statute of limitations for slander claims, the

 Court granted the motion in part, specifically as to the July 2006 statements of both

 Mr. Valdez and Mr. Buckley, Order on Mots. to Dismiss at 9–12. However, the

 Court did not dismiss the counts in their entirely because the record was ambiguous

 as to when Mr. Valdez and Mr. Buckley repeated these statements. Id. at 11–12

 (explaining that ―[a]bsent evidence that they repeated these statements within two

 years of July 2, 2009, Mr. Valdez and Mr. Buckley will be entitled to a summary

 disposition of these counts‖).

       Bankers Life‘s motion for summary judgment seeks to eliminate these claims

 altogether by challenging Mr. Knowlton‘s basis for contending that Mr. Valdez and

 Mr. Buckley repeated these statements since July 2, 2007, two years prior to the

 filing of his claim. Defs.’ Mot. at 4–5. In his response, Mr. Knowlton contends that

 the statute of limitations does not run if the Defendant‘s conduct constitutes a

 continuing tort. Pl.’s Resp. at 19. He points out that the Bankers Life Consent




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 Agreement is ―still being published today‖ and that it terminated Mr. Knowlton

 because his work represented an ―unacceptable level of incompetence‖ and because

 he lacked ―adherence to the legal requirements.‖ Id. Claiming these statements

 were slanderous, Mr. Knowlton says that ―the Bankers Life Defendants specific

 recitation of that slander subjects them to liability for the damages sustained by

 Mr. Knowlton.     In other words, the slander is a continuing tort, negatively

 impacting Mr. Knowlton‘s ability to find employment.‖ Id.

       To the extent Mr. Knowlton continues to rely on his prior position that

 slander is a continuing tort, the Court rejected that position in its Order on the

 Motions to Dismiss and does so again for precisely the same reasons. To repeat,

 ―[c]ourts almost universally decline to apply the doctrine [of continuing tort] in

 defamation cases.‖ Murphy v. Maine, CV-06-62-B-W, 2006 U.S. Dist. LEXIS 61638,

 at *18 (D. Me. Aug. 29, 2006).

       To withstand summary judgment on these Counts, Mr. Knowlton must raise

 a genuine issue of material fact as to whether either Mr. Valdez or Mr. Buckley

 repeated the allegedly slanderous statements after July 2, 2007. To that end, the

 Court has carefully reviewed the statements of material facts to determine whether

 they refer to any allegedly slanderous statements by either Defendant within the

 applicable period. The Court has found two references to slander in Bankers Life‘s

 statement of material facts:

       51. The statements underlying Mr. Knowlton‘s claims against Messrs.
       Buckley and Valdez were all purportedly made before July 2, 2007.

 DSMF ¶ 51. And:



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       52. Mr. Knowlton has no evidence that Buckley or Valdez made or
       repeated the slanderous statement alleged in the amended complaint
       after July 2, 2007.

 DSMF ¶ 52. Mr. Knowlton posited the same response to both assertions:

       Qualified. The Consent Agreement between Bankers Life and the
       State of Maine which indicates that Mr. Knowlton is an incompetent
       and dishonest person continues to be published by the Defendants and
       the State of Maine. (Exhibit L, Knowlton Dep. at 208:23–209:5).
       Based on Mr. Knowlton‘s past experience with individuals terminated
       form (sic) Bankers Life, Mr. Knowlton believes that Messrs. Buckley
       and Valdez continued to repeat the statements that he was
       incompetent and dishonest to other (sic) after July 2007) (Id. at 216:3–
       22).

 PRDSMF ¶¶ 51–52. In his Response, Mr. Knowlton did not refer to any evidence of

 slander in his separate statement of material facts, and the Court carefully

 reviewed his statement of additional material facts and found none.

       The question, then, is whether Mr. Knowlton‘s qualified responses generate a

 genuine issue of material fact as to whether either Mr. Buckley or Mr. Valdez

 slandered him during the applicable statute of limitations period. To the extent Mr.

 Knowlton is relying on his past knowledge of how other individuals who were

 terminated at Bankers Life were treated, his belief that Messrs. Buckley and

 Valdez would have continued to repeat these statements would not be admissible

 evidence, and for the reasons earlier stated, the Court has declined to allow Mr.

 Knowlton to enter a qualified response that attempts to generate an issue of

 material fact based on forbidden speculation and character evidence. See supra

 Part I.D.3.z; FED. R. EVID. 401, 404(a), 608.




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       The question narrows to whether the continued publication of the Consent

 Agreement constitutes slander. If, as Mr. Knowlton claims, Bankers Life continued

 to publish the Consent Agreement, he has not put forth any evidence that either

 Mr. Valdez or Mr. Buckley was linked to the Bankers Life publication. His record

 support is limited to his own deposition:

       He [Mr. Valdez] would have - - in explaining what the company was
       doing with Alan Knowlton, he would have had to explain what this
       meant, plus it was - - it was included in the Maine‘s consent agreement
       that the company agreed to. So there‘s an untold number of people out
       there that can go to the Web site and read this and come to the
       conclusion that I‘m an incompetent and dishonest person, which I am
       not, by the way.

 PSAFM Attach. 15 208:23–209:5 (Dep. of Alan Knowlton).             Mr. Knowlton‘s

 testimony does not raise a genuine issue of material fact that either Mr. Valdez or

 Mr. Buckley continued to slander him after July 2, 2007. Excluding the testimony

 relating to statements that Mr. Valdez ―would have had to‖ have made—which the

 Court rejected as speculative—Knowlton refers only to postings on the Bankers Life

 website but fails to connect the posting to Messrs. Valdez or Buckley. See Tropigas

 de Puerto Rico, 637 F.3d at 56. This record evidence is insufficient to create a

 triable issue as to whether Mr. Valdez or Mr. Buckley made any slanderous

 statements about Mr. Knowlton after July 2, 2007.       The Court concludes that

 Messrs. Valdez and Buckley are entitled to summary judgment on Counts XV and

 XVIII of the Amended Complaint.

       D.     Breach of Contract (Count XXI)

       Relying on the contractual provision that ―[e]ither party may terminate this

 Contract at will, without cause, by giving written notice to the other party,‖


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 Bankers Life seeks summary judgment against Mr. Knowlton‘s contractual claim

 because in its view, the contract was terminable at will. Defs.’ Mot. at 5–8. Mr.

 Knowlton counters that Illinois law presumes all contracts to be ―at will‖ but allows

 a party to overcome this presumption by showing that the employer policies

 demonstrate an intent to agree to a definite term. Pl.’s Resp. at 9. Mr. Knowlton

 argues that the Bankers Life had policies and practices that create a genuine issue

 of material fact as to whether it had guaranteed him future employment subject to

 his meeting its performance goals and otherwise performing his duties faithfully

 and honestly. Id. at 8–13.

              1.    Illinois Law

       The seminal case for the duration of an employment contract in Illinois is

 Duldulao v. St. Mary of Nazareth Hospital Center, 115 Ill. 2d 482, 505 N.E.2d 314

 (1987). In Duldulao, the Illinois Supreme Court observed that ―an employment

 relationship without a fixed duration is terminable at will.‖ Id. 115 Ill. 2d at 489,

 505 N.E.2d at 317. The Duldulao Court described the general ―employment-at-will

 rule‖ as ―a rule of construction, mandating only a presumption that a hiring without

 a fixed term is at will, a presumption which can be overcome by demonstrating that

 the parties contracted otherwise.‖ Id. 115 Ill. 2d at 489, 505 N.E.2d at 318. At the

 same time, the Duldulao Court went on to hold ―that provisions in an employee

 handbook may give rise to a binding contract with at-will employees who accept the

 terms of the contract by commencing or continuing their employment with the

 employer.‖ Doyle v. Holy Cross Hosp., 186 Ill. 2d 104, 106, 708 N.E.2d 1140, 1142

 (1999) (describing the Duldulao holding).


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       Duldulao remains good law in Illinois, but subsequent Illinois Supreme Court

 rulings have limited its reach. See Dopkeen v. Whitaker, 399 Ill. App.3d 682, 688,

 926 N.E.2d 794, 800 (2010) (citing Duldulao as controlling law ―under proper

 circumstances‖).   The Dopkeen Court explained that the Illinois Supreme Court

 limited its holding in Duldulao ―by stating that only ‗under proper circumstances‘

 may an employee handbook be contractually binding‖ and it is ―plaintiff‘s burden to

 explain why his case fell ‗under proper circumstances‘ and [is] not controlled by the

 general rule.‖ Id. (quoting Untershuetz v. City of Chicago, 346 Ill. App. 3d 65, 73,

 803 N.E.2d 988, 995 (2004)).        To satisfy this burden, the employee must

 demonstrate: 1) ―the language of the policy statement . . . contain[s] a promise clear

 enough that an employee reasonably believe[s] that an offer has been made,‖ 2) ―the

 statement must be disseminated to the employee in such a manner that the

 employee is aware of its contents and reasonably believes it to be an offer,‖ and 3)

 ―the employee must accept the offer by commencing or continuing to work after

 learning of the policy statement.‖ Duldulao, 115 Ill. 2d at 490, 505 N.E.2d at 318;

 accord Wood v. Wabash Cnty. Health Dep’t., 309 Ill. App. 3d 725, 728, 722 N.E.2d

 1176, 1179 (1999). Furthermore, in Stoll v. United Way of Champaign County,

 Illinois, Inc., the Illinois Appellate Court noted an additional restriction in

 Duldulao: the employee handbook was created by the employer and the handbook

 expressly stated that it was ―designed to clarify your rights and duties as

 employees.‖ 378 Ill. App. 3d 1048, 1052–53, 883 N.E.2d 575, 579 (2008).




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       Significantly, however, as the Illinois Appellate Court observed, Duldulao

 addressed a situation where there was no written employment contract. McWhorter

 v. Realty World-Star, Inc., 117 Ill. App. 3d 588, 593, 525 N.E.2d 1205, 1208 (1988)

 (explaining that Duldulao was distinguishable because ―in Duldulao there was no

 express employment contract‖ while in McWhorter ―an express employment contract

 was entered into between the parties‖). Similarly, interpreting Illinois law, the

 Seventh Circuit observed in Lashbrook v. Oerkfitz that ―unlike the plaintiffs in

 Duldulao and its progeny . . . , [the employee] had an express contract that

 governed his employment relationship with the Park District, and the instant case

 is distinguishable on that ground alone.‖ 65 F.3d 1339, 1346 (7th Cir. 1995). Where

 there is an employment contract and an argument is being made that the contract

 incorporated another document, the rule in Illinois is that ―the reference must show

 . . . an intention to incorporate the document and make it a part of the contract.‖

 Arneson v. Bd. of Trs, 210 Ill. App. 3d 844, 849–50, 569 N.E.2d 252, 256 (1991).

              2.    Illinois Law and the Bankers Life Contract

       Under Illinois law, the terms of the written employment contract between

 Mr. Knowlton and Bankers Life control. Donnelly v. Chicago Park Dist., 417 F.

 Supp. 2d 992, 1002 (N.D. Ill. 2006) (applying Illinois law and stating that ―an

 employee handbook or policy statement cannot override or modify the clear and

 unambiguous terms of an express employment contract‖). Mr. Knowlton has made

 no showing that the employment contract in this case modified its employment-at-

 will clause by incorporating by reference any Bankers Life document or general




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 policies.7 This alone is sufficient to conclude that Mr. Knowlton cannot proceed

 against Bankers Life on his contract claim under Duldulao.

        Even if Duldulao applied, Mr. Knowlton would still not prevail.                       Under

 Duldulao, Bankers Life is entitled to the presumption that its employment

 agreement with Mr. Knowlton was terminable at will. See 115 Ill. 2d at 489, 505

 N.E.2d at 318. The January 1, 1995 contract governing this lawsuit provides that

 ―[e]ither party may terminate this Contract at will, without cause, by giving written

 notice to the other party.‖         DSMF ¶ 11; PRDSMF ¶ 11.                The contract further

 provides that it ―supersedes and terminates all previous Contracts, any oral

 representations or understandings and constitutes the entire Contract between the

 parties.‖ DSMF ¶ 13; PRDSMF ¶ 13. By its terms, the contract could only be

 ―changed or modified by written consent signed on behalf of the Company.‖ DSMF

 ¶ 14; PRDSMF ¶ 14.

        The question, then, is whether Mr. Knowlton has created a genuine issue of

 material fact to sustain his contention that Bankers Life incorporated its policies

 and practices into Mr. Knowlton‘s employment agreement by stipulating in the

 agreement that the ―Manager agrees to abide by all policies, practices and

 procedures adopted by the Company.‖ Branch Sales Manager Contract ¶ 5(b). Mr.

 Knowlton asserts that he has met the three Illinois prerequisites for application of


 7 The Court rejects Mr. Knowlton‘s contention that the ―discharge for cause‖ provision transforms the

 employment contract into one that provides him employment until retirement. Pl.’s Resp. at 13. The
 contract provides that either party may terminate without cause by giving written notice and that
 Bankers Life may terminate for cause, in which case ―no further compensation of any kind will be
 payable.‖ Branch Sales Manager Contract ¶ 20(a), (d). Nothing in the employment contract justifies
 the conclusion that this termination for cause provision accords Mr. Knowlton a guarantee of
 employment until he retires so long as he is not terminated for cause.


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 the Duldulao Court‘s exception to employment at will: 1) the language of the policy

 contains a promise clear enough that an employee reasonably believes that an offer

 has been made, 2) the policy statement was disseminated to the employee so that he

 was aware of the promise and believed it to be an offer, and 3) Mr. Knowlton

 continued to work after learning of the policy statement. Pl.’s Resp. at 9–11 (citing

 Wood, 309 Ill. App. at 728, 722 N.E.2d at 1179).

       The Court disagrees. First, by its precise terms, the employment contract

 does not create an obligation on the part of Bankers Life; it requires the ―Manager,‖

 namely Mr. Knowlton, not the Company, to ―abide by all policies, practices and

 procedures.‖ It is difficult to conclude that Mr. Knowlton could have reasonably

 interpreted this language to impose a corresponding enforceable obligation on

 Bankers Life. However, to the extent Mr. Knowlton could have gathered from this

 language that Bankers Life was similarly bound by its policies and procedures, the

 employment contract expressly states that ―[e]ither party may terminate this

 Contract at will, without cause, by giving written notice to the other party.‖ DSMF

 ¶ 11; PRDSMF ¶ 11. Reading the contract as whole, the Court cannot conclude that

 Paragraph 5(b) of the Branch Sales Manger Contract ―contains a promise clear

 enough that an employee reasonably believes that an offer has been made.‖

 Duldulao, 115 Ill. 2d at 490, 505 N.E.2d at 318.

       Second, the Duldulao Court was discussing an employee handbook, which it

 concluded created legal obligations on the employer before discharging an employee.

 Id. at 490–91, 505 N.E.2d at 318–19. Here, Mr. Knowlton initially points to verbal




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 statements made by his supervisors over the years that he interpreted as promising

 employment until retirement: ―It‘s your office‖; ―It‘s an opportunity to build your

 own business‖; ―The Branch Sales Manager is an entrepreneurial opportunity for

 you‖; ―Take personal ownership of your office‖; ―Run your office as you see fit‖; and

 ―Spend your budget as you see fit, it‘s your office.‖ PSAMF ¶ 63; DRPAMF ¶ 63.

 These are general words of encouragement, not the kind of employer promises about

 pre-termination disciplinary procedures contained in the written employee

 handbook in Duldulao.

       Mr. Knowlton also points to testimony from Bankers Life Vice Presidents

 Kunselman and Jordan that Bankers Life had a policy of only terminating branch

 managers based on a lack of performance or proven wrongdoing. Pl.’s Resp. at 10–

 11. However, there is no evidence that Bankers Life reduced this general policy to a

 written promise to its branch managers, and the Court views this type of statement

 more as an aspirational goal than a binding amendment to the written employment

 contract. Mr. Knowlton‘s references to the Bankers Life benefit programs do not

 change this analysis. The Court views the Bankers Life benefit and compensation

 programs as garden variety employee benefit and compensation programs, many of

 which encourage seniority.

       In sum, under Illinois law, Mr. Knowlton has not stated a contractual claim

 against Bankers Life. Under McWhorter and Lashbrook, the employment contract

 by its terms is terminable at will, without cause, and by written notice, and the

 contract does not expressly incorporate any Bankers Life policies or procedures




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 guaranteeing Mr. Knowlton employment until retirement.           The Court concludes

 that Duldulao does not apply, but if it did, Mr. Knowlton has not produced evidence

 that generates a genuine issue of material fact as to whether the so-called promises

 of employment until retirement are binding on Bankers Life.

       E.     Breach of Implied Covenant of Good Faith and Fair Dealing
              (Count XXII)

       Citing Illinois law, Bankers Life argues that there is no implied covenant of

 good faith and fair dealing in a contract that is terminable at will. Def.’s Reply at 5.

 By contrast, also citing Illinois law, Mr. Knowlton claims that every Illinois

 contract, including employment contracts, contains a covenant of good faith and fair

 dealing. Pl.’s Resp. at 13–14.

       Mr. Knowlton is correct that in Illinois ―[e]very contract implies good faith

 and fair dealing between the parties to it.‖ Mid-West Energy Consultants, Inc. v.

 Covenant Home, Inc., 352 Ill. App. 3d 160, 163, 815 N.E.2d 911, 914 (2004) (quoting

 Martindell v. Lake Shore Nat’l Bank, 15 Ill. 2d 272, 286, 154 N.E.2d 683, 690

 (1958)).   ―The duty of good faith and fair dealing, however, is used only as a

 construction aid to determine the intent of the contracting parties.‖ Bank of Am.,

 N.A. v. Shelbourne Dev. Group, Inc., No. 09 C 4963, 2011 U.S. Dist. LEXIS 21258, at

 *10 (N.D. Ill. Mar. 3, 2011). In other words, the duty of good faith and fair dealing

 ―is only an aid to interpretation, not a source of contractual duties or liability under

 Illinois law.‖ Zeidler v. A & W Rests., Inc., 301 F.3d 572, 575 (7th Cir. 2002).

       In Illinois, the ―parties to a contract are entitled to enforce the terms to the

 letter and an implied contract of good faith cannot overrule or modify the express



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 terms of a contract.‖ Cromeens, Holloman, Sibert, Inc. v. AB Volvo, 349 F.3d 376,

 395 (7th Cir. 2003). Specifically, as applied to employment contracts, in Mid-West,

 the Illinois Appellate Court wrote:

       The duty of good faith and fair dealing does not override the clear right
       to terminate at will, since no obligation can be implied which would be
       inconsistent with and destructive of the unfettered right to terminate
       at will.

 352 Ill. App. 3d at 163, 815 N.E.2d at 914 (quoting Jespersen v. Minnesota Mining &

 Mfg. Co., 288 Ill. App. 3d 889, 895, 681 N.E.2d 67, 71 (1997)).

       Under Illinois law, therefore, because the employment contract is terminable

 at will, Mr. Knowlton cannot maintain a separate cause of action for Bankers Life‘s

 breach of duty of good faith and fair dealing.

       F.     Promissory Estoppel (Count XXIII)

       According to Maine law on promissory estoppel, ―[a] promise which the

 promisor should reasonably expect to induce action or forbearance on the part of the

 promisee or a third person and which does induce such action or forbearance is

 binding if injustice can be avoided only by enforcement of the promise.‖ Martin v.

 Scott Paper Co., 511 A.2d 1048, 1050 (Me. 1986) (quoting RESTATEMENT (SECOND) OF

 CONTRACTS § 90 (2010)). Mr. Knowlton contends there is sufficient evidence in this

 record that Bankers Life executives:

       promised Mr. Knowlton that it had fought for his job; that the Maine
       Bureau of Insurance had demanded his termination; that Bankers
       [Life] knew that Mr. Knowlton was not at fault for the Consent
       Agreement and Bankers [Life] would take care of him; that it was
       Company practice to keep a Branch Manager until retirement as long
       as he met his performance goals and did not engage in substantial
       wrongdoing; that Bankers [Life] was going to make Mr. Knowlton the
       Branch Manager of a Massachusetts North [S]hore office; and that the


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       State of Maine had said Mr. Knowlton could not be a Branch Manager
       anywhere else.

 Pl.’s Resp. at 14–15. He argues that there is ―ample evidence‖ to create a material

 fact ―as to whether Mr. Knowlton relied on those representations to his detriment.‖

 Id. at 15. Bankers Life disagrees. It says that promissory estoppel is not available

 when the plaintiff is an at will employee. Def.’s Mot. at 9–10; Def.’s Reply at 5.

 Furthermore, it contends that Mr. Knowlton‘s promissory estoppel theory is barred

 by the statute of frauds. Def.’s Mot. at 9–10; Def.’s Reply at 5.

       In Roy v. Runyon, Magistrate Judge David Cohen deftly addressed

 relationship under Maine law between promissory estoppel and the statute of

 frauds in an employment context. 954 F. Supp. 368, 379–80 (D. Me. 1997). The Roy

 Court makes it clear that a plaintiff does not ―automatically shed the [statute of

 frauds‘] requirements by invoking promissory estoppel.‖ Id. at 379. According to

 Roy, in Stearns v. Emery-Waterhouse Co., 596 A.2d 72, 74 (Me. 1991), the Law Court

 declared that, as a matter of Maine law, ―the doctrine of promissory estoppel would

 not be available to defeat the requirement of a signed writing in cases involving

 employment contracts requiring more than one year to perform.‖ Roy, 954 F. Supp.

 at 379. The reason is ―that it is too difficult to distinguish factually the reliance

 interests in a promissory estoppel claim from the ordinary preparations that attend

 any new employment.‖ Id. (internal punctuation omitted). Applying the statute of

 frauds to the promissory estoppel claim in that case, Judge Cohen concluded that

 ―absent the lack of signed writing, it is obviously true that as the contract at issue

 moves beneath the one-year threshold and approaches (or becomes) a promise of



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 employment at will, the reliance interest that would support a claim of promissory

 estoppel likewise approaches the vanishing point.‖ Id. at 380.

         Judge Cohen‘s analysis is echoed with a slightly different emphasis in

 Lockrow v. Biddeford-Saco Country Club, No. CV-01-320, 2002 Me. Super. LEXIS

 116, at *1 (Me. Super. May 30, 2002). There, the Superior Court Justice observed:

         [A] claim for promissory estoppel, in the context of this employment
         dispute, is not compatible with Maine law. Bard v. Bath Iron Works
         Corp., 590 A.2d 152, 155 (Me. 1991).          If an employee, absent
         contractual provisions to the contrary, can be fired for non-
         discriminatory reasons at any time without just cause then it would be
         pointless to adopt the doctrine of promissory estoppel forcing the
         person to be hired only to be let go immediately thereafter.

 Id.    These cases are consistent with the proposition that in Maine, an at-will

 employee may not maintain a promissory estoppel claim. See Bradley v. Kryvicky,

 574 F. Supp. 2d 210, 223 (D. Me. 2008) (concluding that ―[p]romissory estoppel is

 unavailable in this case where an enforceable contract governs the same topic as the

 alleged oral promise‖); Popanz v. Peregine Corp., 710 A.2d 250, 251 (Me. 1998);

 Hodgkins v. New England Tel. Co., 82 F.3d 1226, 1233 (1st Cir. 1996) (―An

 employee cannot avoid the statute of frauds ‗based solely upon his detrimental

 reliance on an employer‘s oral promise of continued employment‘‖ (quoting Stearns,

 596 A.2d at 74)).

         Mr. Knowlton has not stated a viable promissory estoppel claim under Maine

 law.

         G.    The Section 1983 Claims (Counts I, III and VI)

         To recover under 42 U.S.C. § 1983, ―a plaintiff must prove that a deprivation

 of ‗rights, privileges, or immunities secured by the Constitution and laws‘ of the


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 United States was carried out by persons acting under color of state law.‖ Clark v.

 Boscher, 514 F.3d 107, 112 (1st Cir. 2008) (quoting 42 U.S.C. § 1983). This standard

 breaks down into two overriding inquiries: ―(1) whether the conduct complained of

 was committed by a person acting under the color of state law; and (2) whether this

 conduct deprived a person of rights, privileges, or immunities secured by the

 Constitution or laws of the United States.‖ Gutierrez-Cartagena, 882 F.2d 553, 559

 (1st Cir. 1989) (quoting Parratt v. Taylor, 451 U.S. 527, 535 (1981)).

       Turning to the first requirement—color of state law—Mr. Knowlton contends

 that Bankers Life conspired with state officials to deprive him of his employment,

 and in doing so, that Bankers Life cloaked itself with state authority, making it

 susceptible to a § 1983 claim. Pl.’s Resp. at 17–18. Mr. Knowlton correctly asserts

 that under First Circuit law, ―private parties who conspire with immune officials

 may be sued under § 1983.‖ Slotnick v. Staviskey, 560 F.2d 31, 32–33 (1st Cir.

 1977); accord Kermit Constr. Corp. v. Banco Credito Y Ahorro Ponceno, 547 F.2d 1, 3

 (1st Cir. 1976) (concluding that the plaintiff stated a cause of action against a bank

 and corporation under § 1983). The First Circuit‘s conclusion in Slotnick was later

 upheld by the United States Supreme Court in Dennis v. Sparks, 449 U.S. 24, 29

 (1980), and since then, the First Circuit has applied the rule.          Roche v. John

 Hancock Mut. Life Ins. Co., 81 F.3d 249, 253–54 (1st Cir. 1996) (stating that

 ―private actors may align themselves so closely with either state action or state

 actors that the undertow pulls them inexorably into the grasp of § 1983‖). Here,

 there is sufficient evidence in the record to raise a genuine issue of material fact as




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 to whether Bankers Life officials conspired with state of Maine officials to deprive

 Mr. Knowlton of his job with Bankers Life. Mr. Knowlton makes it over the first §

 1983 hurdle.

        He stumbles on the next. ―[T]o state a cognizable claim for a violation of due

 process pursuant to 42 U.S.C. § 1983, a plaintiff must show a deprivation of a

 constitutionally protected property or liberty interest.‖ Krennerich v. Inhabitants of

 the Town of Bristol, 943 F. Supp. 1345, 1352 (D. Me. 1996). Mr. Knowlton relies on

 the incorporation of Bankers Life‘s policies and practices into his written

 employment contract to establish his property interest in continued employment

 with Bankers Life.         However, the Court has rejected this contention and has

 concluded that under Illinois law he was an at-will employee.8 See Cleveland Bd. of

 Educ. v. Loudermill, 470 U.S. 532, 539 (1985) (―Property interests are not created

 by the Constitution, they are created and their dimensions are defined by existing

 rules or understandings that stem from an independent source such as state law‖

 (internal punctuation omitted));Ruiz-Casillas v. Camacho-Morales, 415 F.3d 127,

 134 (1st Cir. 2005) (explaining that ―[t]o determine whether public employees

 possess such a property right [in continued public employment], we examine the

 local law and the terms and conditions of the employment arrangement‖). As an at-

 will employee, Mr. Knowlton had no property interest in continued employment at

 Bankers Life and no property interest cognizable under § 1983. Ayala-Rodriguez v.


 8 The conclusion would be the same under Maine law.        See Mercier v. Town of Fairfield, 628 A.2d
 1053, 1055 n.3 (Me. 1993) (―A contract of employment for an indefinite period is terminable at the
 will of either party unless the parties have clearly stated their intention to restrict the common law
 rule‖).


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 Rullan, 511 F.3d 232, 238 (1st Cir. 2007) (affirming a district court‘s dismissal of a

 Plaintiff‘s § 1983 due process claim because ―[a]n ordinary ‗at will‘ employment

 contract creates no protectable expectation of continued employment, and [the

 Plaintiff‘s] termination of his annual contract is no different‖ (internal citation

 omitted); Burrell v. Bd. of Trs. for the Univ. of Me. Sys., 15 Fed. Appx. 5, 6 (1st Cir.

 2001) (concluding that the plaintiff‘s due process claim failed because ―he failed to

 allege facts sufficient to show a property interest in his job‖); Krennerich, 943 F.

 Supp. at 1352 (stating that an employee has no property interest in at-will

 employment). His § 1983 claims must, therefore, fail.

       H.     Negligent Misrepresentation and Fraudulent
              Misrepresentation Claims (Counts XII, XIII, XIV, XVI, XVII, XIX,
              XX)

              1.     The Parties’ Positions

       In his Amended Complaint, Mr. Knowlton alleges that Bankers Life and its

 supervisory employees either made misrepresentations or made negligent

 misrepresentations, that he justifiably relied on these misrepresentations, and that

 he suffered economic loss as a result. Am. Compl. Counts XII, XIII, XIV, XVI, XVII,

 XIX, XX. Specifically, he says that the Bankers Life Defendants told him that the

 Bureau of Insurance had concluded that he could not handle Bankers Life‘s current

 problems with improper sales practices, that the Bureau had insisted on his

 removal as the Branch Manager for the Bangor office, that Bankers Life had

 attempted to dissuade the Bureau from its position, that the Bankers Life

 Defendants assured him that they knew he was not at fault and would take care of




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 him, and that it had a great opportunity for him in Massachusetts. Id. He asserts

 that these representations were false. Id.

       In its motion, Bankers Life says that the misrepresentation claims fail as a

 matter of law for the following reasons: 1) the statements about the Bureau were

 true—the Bureau had concluded Mr. Knowlton was incompetent and dishonest and

 had to be removed as Branch Manager; the Bureau had in fact required Bankers

 Life to remove Mr. Knowlton as Branch Manager; and Bankers Life did have a

 great opportunity for Mr. Knowlton in Massachusetts; 2) even if the Bureau‘s

 conclusions about Mr. Knowlton could be deemed untrue, the Bureau‘s statements

 about Mr. Knowlton were statements of opinion, which do not give rise to a

 misrepresentation claim; 3) the statements were immaterial; 4) Mr. Knowlton did

 not justifiably rely on the statements; 4) he cannot demonstrate proximate cause; 5)

 he did not suffer any damages as a consequence of the misrepresentations; 6) that

 the Bankers Life Defendants did not make these representations intentionally or

 negligently; and, 7) that Mr. Knowlton cannot recover damages for emotional

 distress from the misrepresentations. Def.’s Mot. at 11–19.

       In response, Mr. Knowlton disputes whether the Bureau required Bankers

 Life to terminate Mr. Knowlton as Branch Manager, whether Bankers Life fought

 for him, and whether Bankers Life ever intended to make him the North Shore

 Branch Manager. Pl.’s Resp. at 16–17. Mr. Knowlton says that he relied on these

 representations to his detriment and refused an employment offer from Combined

 Insurance. Id. at 17. Finally, although Mr. Knowlton concedes that he cannot




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 recover emotional distress damages for the intentional misrepresentation claims, he

 contends that Maine law permits recovery for the negligent misrepresentation

 claims. Id. at 20.

        In reply, Bankers Life reiterates its view that Maine limits recoverable

 damages to pecuniary loss for negligent misrepresentation claims. Def.’s Reply at 7.

               2.      Fraudulent and Negligent Misrepresentation in Maine

        Maine allows causes of action for both intentional9 and negligent

 misrepresentation. See Jack H. Simmons, Donald N. Zillman & David D. Gregory,

 MAINE TORT LAW § 11.02–11.08 (2004 ed.) (MAINE TORT LAW). To sustain a claim

 for fraudulent misrepresentation, the plaintiff must demonstrate by clear and

 convincing evidence: 1) that the defendant has made a false representation; 2) of a

 material fact; 3) with knowledge of its falsity or in reckless disregard of whether it

 is true or false; (4) for the purpose of inducing another to act or to refrain from

 acting in reliance upon it; and, 5) that he justifiably relied on the representation as

 true and acted upon it to his damage. Flaherty v. Muther, 2011 ME 32, ¶ 45, 17

 A.3d 640, 654–55; Me. Eye Care Assocs. 2006 ME 15, ¶ 19, 890 A.2d at 711; MAINE

 TORT LAW § 11.03.




 9 In his complaint, Mr. Knowlton titles his non-negligent misrepresentation claims simply as
 ―misrepresentation,‖ and makes allegations of ―false representations.‖ Am. Compl. Counts XIV,
 XVII, XX. The same tort seems to go by several names. The authors of MAINE TORT LAW refer to the
 tort variously as intentional misrepresentation, fraud, and deceit. MAINE TORT LAW § 11.02–11.03.
 The Maine Supreme Judicial Court uses the term ―fraudulent misrepresentation‖ and this Court
 follows suit. Me. Eye Care Assocs. P.A. v. Gorman, 2006 ME 15, ¶ 16, 890 A.2d 707, 711.


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        The Maine tort of negligent misrepresentation10 has the following elements:

 1) the plaintiff was supplied false information by the defendant; 2) of a material

 fact; 3) the defendant did not exercise reasonable care or competence in

 communicating the information; and, 3) the plaintiff justifiably relied on that false

 information causing him economic harm. Binette v. Dyer Library Ass’n, 688 A.2d

 898, 903 (Me. 1996). Recovery is limited to matters in which the parties have a

 pecuniary interest and to persons the speaker intended to benefit by providing the

 information; damages are limited to out-of-pocket loss. Chapman v. Rideout, 568

 A.2d 829, 830 (Me. 1990); MAINE TORT LAW § 11.08. Furthermore, contributory

 negligence on the part of the recipient bars recovery. MAINE TORT LAW § 11.08. In

 Rand v. Bath Iron Works, 2003 ME 122, ¶ 13, 832 A.2d 771, 774, the Maine

 Supreme Judicial Court adopted the Restatement‘s description of negligent

 misrepresentation       as    being    ―more     restricted      than   that       for   fraudulent

 misrepresentation.‖ (quoting RESTATEMENT (SECOND) OF TORTS § 552(1) cmt. a

 (RESTATEMENT)).

                3.     The Plaintiff’s Claims and the Law

        In the Court‘s view, Mr. Knowlton has generated a sufficient record in this

 case   to   withstand summary           judgment      on   the    fraudulent       and    negligent

 misrepresentation claims against the Bankers Life Defendants.                       In effect, Mr.

 Knowlton charges that Bankers Life was engaged in a double game: assuring him

 that it was acting as his advocate before the Bureau while at the same time,


 10 Negligent misrepresentation is also known as unintentional misrepresentation.   MAINE TORT LAW
 § 11.08; Rand v. Bath Iron Works Corp., 2003 ME 122, ¶ 13, 832 A.2d 771, 774.


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 offering him up as a scapegoat to the Bureau in hope that the Bureau would be

 lenient with Bankers Life. The intended effect of this double dealing, from Mr.

 Knowlton‘s perspective, was to mollify him, retaining his good will, during a period

 of intense governmental scrutiny. Then, acting on the false assumption that he

 should return to Bankers Life because of the loyalty he thought it had shown him,

 Mr. Knowlton turned down a potentially lucrative position with another insurance

 company.

       The Court acknowledges that Bankers Life emphatically rejects Mr.

 Knowlton‘s version of these events; however, for purposes of summary judgment,

 the Court is required to accept the non-movant‘s version of the facts to the extent

 they are supported by the record evidence. As the Maine Supreme Judicial Court

 wrote in Rand, in negligent misrepresentation cases, the inquiry as to whether the

 defendant committed the tort ―is a question for the fact-finder.‖ 2003 ME 122, ¶ 13,

 832 A.2d at 774.     The Court draws a similar conclusion on the fraudulent

 misrepresentation claim.

       Mr. Knowlton generally survives summary judgment on Counts XII, XIII,

 XIV, XVI, XVII, XIX and XX. On one point, however, he does not. Mr. Knowlton

 has conceded that he is not entitled to emotional distress damages for an

 intentional misrepresentation claim. Pl.’s Resp. at 20. However, he contends that

 he is entitled to emotional distress damages for emotional distress arising from

 negligent misrepresentation. Id. He is wrong. The Maine Supreme Judicial Court

 has repeatedly emphasized that recovery under a negligent misrepresentation claim




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 is limited to pecuniary loss. For example, in Rand, the Maine Supreme Judicial

 Court        recited   the   Restatement   formulation   for   claims   of   negligent

 misrepresentation, which states that a defendant who supplies others false

 information ―is subject to liability for pecuniary loss caused by their justifiable

 reliance on the information.‖ Rand, 2003 ME 122, ¶ 13, 832 A.2d at 774 (quoting

 RESTATEMENT (SECOND) OF TORTS § 552(1)) (emphasis supplied); see also Metayer v.

 PFL Life Ins. Co., No. 98-177-P-C, 1999 U.S. Dist. LEXIS 23432, at *26 (D. Me. Jul.

 15, 1999) (limiting recovery to pecuniary loss); Chapman, 568 A.2d at 830 (same);

 Jourdain v. Dineen, 527 A.2d 1304, 1307 (Me. 1987) (explaining that ―fraud actions

 are essentially economic in nature and serve to protect economic interests‖); MAINE

 TORT LAW § 11.08 (stating that damages for unintentional misrepresentation are

 limited to out-of-pocket loss).

         I.       Punitive Damages

         Maine law on punitive damages is controlled by Tuttle v. Raymond, 494 A.2d

 1353 (Me. 1985). In Tuttle v. Raymond, the Maine Supreme Judicial Court limited

 the availability of punitive damages to cases involving either ―‗express‘ or ‗actual‘

 malice‖ or ―deliberate conduct by the defendant, [which,] although motivated by

 something other than ill will toward any particular party, is so outrageous that

 malice toward a person injured as a result of that conduct can be implied.‖ Id. at

 1361.

         In its motion, Bankers Life argues that the punitive damages award cannot

 be sustained because ―there is absolutely no evidence that the Bankers Life

 Defendants acted with malice.‖ Def.’s Mot. at 19–20. In response, Mr. Knowlton


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 only says that whether Bankers Life‘s actions meet the Tuttle v. Raymond standard

 ―is a factual question which is best left to the jury.‖ Pl.’s Resp. at 20.

        Based solely on the argument that Bankers Life has raised, the Court

 concludes that the punitive damages count survives summary judgment. If the

 Bankers Life Defendants engaged—as Mr. Knowlton claims—in a double game,

 appeasing the Bureau while mollifying him, then a jury could find that even though

 not motivated by actual malice, malice could be implied.

 III.   CONCLUSION

        The Court GRANTS in part and DENIES in part the Bankers Life

 Defendants‘ Motion for Summary Judgment (Docket # 59). The Court GRANTS

 summary judgment in favor of Bankers Life and Casualty Company, James Valdez,

 Michael Buckley, and Bruce Jordan on Counts I, III, VI, XV, XVIII, XXI, XXII and

 XXIII. The Court GRANTS in part summary judgment in favor of Bankers Life and

 Casualty, James Valdez, Michael Buckley, and Bruce Jordan and DENIES in part

 summary judgment against Alan Knowlton on Counts XII, XIII, XIV, XVI, XVII,

 XIX and XX; the Court GRANTS summary judgment on each Count only to the

 extent Alan Knowlton is claiming non-pecuniary damages; otherwise, the Court

 DENIES summary judgment on each Count. Finally, the Court DENIES summary

 judgment against Alan Knowlton on his punitive damages claim.

        SO ORDERED.

                                    /s/ John A. Woodcock, Jr.
                                    JOHN A. WOODCOCK, JR.
                                    CHIEF UNITED STATES DISTRICT JUDGE

 Dated this 13th day of June, 2011


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